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                  EXHIBIT A
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:DVKLQJWRQ'&




November 14, 2019

Via U.S. Mail and Email

Law Offices of Crystal Moroney, P.C.
17 Squadron Blvd.
Suite 303
New City, NY 10956

Re: Civil Investigative Demand served on the Law Offices of Crystal Moroney, P.C.
on November 14, 2019

Dear Ms. Moroney:

Attached is a civil investigative demand (CID) issued to you by the Bureau of Consumer
Financial Protection (Bureau) under 12 C.F.R. § 1080.6 and § 1052(c) of the Dodd-Frank
Wall Street Reform and Consumer Protection Act, 12 U.S.C. § 5562. The Bureau is
currently seeking information for a non-public investigation, the purpose of which is
explained on the attached CID cover sheet. Please note:

   1. Contact Bureau counsel, E. Vanessa Assae-Bille, as soon as possible to
       schedule an initial meeting that is required to be held within 10
       calendar days of receipt of this CID. During this meeting, you must discuss
       and attempt to resolve all issues regarding the CID, including timely compliance.
       The rules require that you make available at this meeting personnel with the
       knowledge necessary to resolve issues; such individuals may include, for example,
       information-technology professionals. Please be prepared to discuss your planned
       compliance schedule, including any proposed changes that might reduce your cost
       or burden while still giving the Bureau the information it needs.

   2. You must retain and suspend any procedures that may result in the
       destruction of, documents, information, or tangible things that are in
       any way relevant to the investigation, as described in the CID’s
       Notification of Purpose. You are required to prevent the destruction of relevant
       material irrespective of whether you believe such material is protected from future
       disclosure or discovery by privilege or otherwise. See 18 U.S.C. §§ 1505, 1519.




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
Please contact Bureau counsel as soon as possible to set up an initial meeting, which must
be held within 10 calendar days of receipt of this CID. We appreciate your cooperation.

Sincerely,


/s/E. Vanessa Assae-Bille
Enforcement Attorney


Attachment




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                       Case 7:20-cv-03240-KMKUnited States of 1-3
                                               Document       America
                                                                  Filed 04/24/20 Page 4 of 49
                                                            %XUHDXRIConsumer Financial Protection

                                                            Civil Investigative Demand
To Law Offices of Crystal Moroney, P.C.                      This demand is issued pursuant to Section 1052 of the Consumer Financial
     17 Squadron Blvd.                                       Protection Act of 2010 and 12 C.F.R. Part 1080 to determine whether there is or
     Suite 303                                               has been a violation of any laws enforced by the Bureau of Consumer Financial
     New City, NY 10956                                      Protection.


Action Required (choose all that apply)
        Appear and Provide Oral Testimony

          Location of Investigational Hearing                                 Date and Time of Investigational Hearing



                                                                              Bureau Investigators




    ✔ Produce Documents and/or Tangible Things, as set forth in the attached document, by the following date 12/16/2019

    ✔ Provide Written Reports and/or Answers to Questions, as set forth in the attached document, by the following date 12/16/2019


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The purpose of this investigation is to determine whether debt collectors, furnishers, or associated persons, in connection with regularly
collecting or attempting to collect consumer debt and furnishing consumer information to consumer-reporting agencies, have: (1) disregarded
warnings that debts were the result of identity theft or otherwise disputed by consumers, in a manner that was unfair, deceptive, or abusive, in
violation of §§ 1031 and 1036 of the Consumer Financial Protection Act of 2010, 12 U.S.C. §§ 5531, 5536; (2) ignored cease-and-desist
requests and engaged in other prohibited communications with consumers or third parties, or failed to provide required notices, or made false
or misleading representations in a manner that violated the Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692b, 1692c, 1692e, 1692g; or (3)
failed to correct and update furnished information, or failed to maintain reasonable policies and procedures in a manner that violated the Fair
Credit Reporting Act, 15 U.S.C. § 1681s-2, or Regulation V, 12 C.F.R. § 1022.42. The purpose of this investigation is also to determine whether
Bureau action to obtain legal or equitable relief would be in the public interest.

Custodian / Deputy Custodian                                                      Bureau Counsel
 Deborah Morris/Annais Ramirez                                                     E. Vanessa Assae-Bille
 The Bureau of Consumer Financial Protection                                       The Bureau of Consumer Financial Protection
 1700 G Street NW                                                                  1700 G Street NW
 Washington, DC 20552                                                              Washington, DC 20552

                                                                    Digitally signed by
Date Issued                 Signature              Deborah          Deborah Morris

11/14/2019                                         Morris           Date: 2019.11.14
                                                                    11:07:44 -05'00'

                            Name / Title Deborah Morris, Deputy Enforcement Director

Service                                                      5LJKWWR5HJXODWRU\(QIRUFHPHQW)DLUQHVV
The delivery of this demand to you by any method             The %XUHDX is committed to fair regulatory enforcement. If you are a small business
prescribed bythe Consumer Financial Protection Act          under Small Business Administration standards, you have a right to contact the Small
of 2010, 12 U.S.C. § 5562, is legal service,I\RXIDLO    Business Administration’s National Ombudsman at 1-888-REGFAIR (1-888-734-3247)
WRFRPSO\ZLWKWKLVGHPDQGWKH%XUHDXPD\VHHND           or www.sba.gov/ombudsman regarding the fairness of the compliance and enforcement
FRXUWRUGHUUHTXLULQJ\RXUFRPSOLDQFH                       activities of the agency. You should understand, however, that the National Ombudsman
                                                             cannot change, stop, or delay a federal agency enforcement action.
Travel Expenses
Request a travel voucher to claim compensation to            Paperwork Reduction Act
which you are entitled as a witness before the Bureau        This demand does not require approval by OMB under the Paperwork Reduction Act of
pursuant to Section 1052 of the Consumer Financial           1980.
Protection Act of 2010, 12 U.S.C. § 5562.
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      
                      CIVIL INVESTIGATIVE DEMAND FOR
             PRODUCTION OF DOCUMENTS, TANGIBLE THINGS, WRITTEN
                 REPORTS, AND ANSWERS TO INTERROGATORIES

I.   Requests.

                                          Interrogatories

          1. Identify all Persons who participated in responding to this CID, describe the
              specific tasks performed by each Person, and identify the response for which they
              performed each task.

          2. Describe the Company’s organizational structure, including:
                 a. the Company’s legal name and principal place of business;
                 b. the date and jurisdiction in which it was incorporated or organized;
                 c. all names under which the Company has done business;
                 d. the Company’s leadership including the principals, directors, and owners;
                 e. each state in which the Company has done business; and
                 f. the time period during which it did business in each state.

          3. Describe each of the Company’s business activities (e.g., debt collection,
              furnishing information to Consumer Reporting Agencies, litigation, etc.). For
              each of those business activities, provide the Company’s annual revenue.

          4. Describe:

                a. the type(s) of Debt the Company collects (e.g., medical, utilities,
                    schoolbook rentals, etc.);
                b. the age range of Debt the Company collects;
                c. the method(s) by which the Company obtains Debt accounts (e.g.,
                    assignment, or portfolio purchase);
                d. whether the Company obtains Debt accounts after the accounts become
                    delinquent or are in default;
                e. whether the Company collects Debts owed or asserted to be owed to
                    another party;
                f. the type(s) of data and records the Company receives with each Debt
                    account it obtains; and
                g. the method(s) by which the Company removes Debt accounts from its
                    portfolio (e.g., settlements, referrals to law firms, conveyance to the
                    creditor or third-party, or sale to Debt buyer(s)).

          5. Identify each alternative name(s) or alias(es) the Company has used to identify
              itself when contacting consumers in connection with its Debt Collection
              Activities. Provide the date range during which the Company used the alternative
              name(s) or alias(es).


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6. Describe the Company’s compensation structure for its employees and agents
    performing Debt Collection Activities, including but not limited to the Company’s
    wage structure, the Company’s bonus structure, and the criteria considered and
    formulas applied to determine the award of bonuses and other rewards.

7. For each year during the Applicable Period, provide the highest total number of:

      a. employees or agents engaged in Debt Collection activities (excluding
          attorneys identified in response to Interrogatory 7(b)) working for the
          Company; and
      b. licensed attorneys working for the Company.

8. Identify each licensed attorney who formerly worked for the Company, including:

      a.   their full legal name;
      b.   their title(s) held at the Company;
      c.   the month and year they began and ceased working for the Company; and
      d.   whether they were engaged in Debt Collection Activities.

9. For each year during the Applicable Period, provide the total number of:

      a. lawsuits the Company filed in connection with its Debt Collection
          Activities; and
      b. court judgments the Company obtained against debtors.

10.Identify any former employees and agents (excluding attorneys identified in
    response to Interrogatory 7(b)) who have worked for the Company for a
    minimum of 90 calendar days. For each, include:

      a. the former employee’s or agent’s official title at the Company;
      b. the former employee’s or agent’s department at the Company;
      c. the month and year the former employee or agent began and ceased
          working at or for the Company;
      d. the reason the former employee or agent separated from the Company;
      e. the former employee’s current or last known home address;
      f. the former employee’s current or last known e-mail address; and
      g. the former employee’s current or last known telephone number.

11.Identify each Person (including the dates of employment and any titles or
    positions held) who has been responsible for:

      a. creating or implementing the Company’s training and guidance materials
          (including telephone scripts) relating to Debt Collection Activities;
      b. creating or implementing the Company’s policies and procedures for
          complying with laws relating to Debt Collection Activities, including the

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          FDCPA, FCRA, and state and federal laws prohibiting unfair, deceptive, or
          abusive acts and practices; and
      c. creating or implementing the Company’s policies and procedures for
          receiving, logging, investigating, and responding to complaints and
          disputes relating to Debt Collection Activities, including recording and
          responding to cease-and-desist requests.

12.Identify each creditor or third-party for which the Law Offices of Crystal
    Moroney, P.C. performed Debt Collection Activities. For each creditor or third-
    party, and for each year during the Applicable Period, specify:

      a. the contact Person at Law Offices of Crystal Moroney, P.C.;
      b. type of Debt in the portfolio of Law Offices of Crystal Moroney, P.C.;
      c. the start date and end of date of the services that Law Offices of Crystal
          Moroney, P.C. provided;
      d. a description of each service Law Offices of Crystal Moroney, P.C.
          provided;

13.For each year during the Applicable Period, provide the number of:

      a. oral consumer disputes of Debt the Company received;
      b. written consumer disputes of Debt the Company received;
      c. written verification right notices the Company provided to consumers;
      d. written requests for verification of debt the Company received;
      e. oral requests for verification of debt that the Company received;
      f. written and oral notifications the Company received from consumers
          stating that their alleged Debt was incurred as a result of identity theft;
          and
      g. written cease-and-desist requests the Company received from consumers.

14.Describe how the Company generated the information produced in response to
    each subsection of Interrogatory 13.

15.Identify each telephone number the Company has used to contact consumers in
    connection with its Debt Collection Activities. Provide the date range during
    which the Company used the phone number, and whether the telephone number
    is associated with a fixed landline, a cellular telephone, or switched/digital or
    other telephone type.

16.Identify all databases the Company has used—whether in-house, hosted, or used
    by a vendor on the Company’s behalf—to conduct Debt Collection Activities. For
    each database, identify or provide the following information:

      a. the employee(s) most knowledgeable about the database;



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      b. the database system name, commercial software name (if different from
          the system name), version, technology platform, and computing model
          (e.g., client, server, or multi-tier);
      c. the time period during which the database is or was in use;
      d. the names and descriptions of the data fields contained in the database;
      e. the data type (e.g., date, time, integer, or text) in each data field;
      f. any purposes beyond debt collection for which it is used;
      g. a description of each category of Persons with access to any part(s) of the
          database, the identity of the part(s) to which each category of Persons has
          access, and for what purpose;
      h. the timeframe for which information in each data field is stored or
          maintained;
      i. a description of how the database is populated with data or information
          and by whom;
      j. a description of how the database interacts with other Company systems,
          (e.g., file systems or other databases);
      k. a description of any processes used to assure the accuracy of data in each
          database, including any internal controls, internal audits, or quality
          assurance programs performed on the database;
      l. whether the database holds attachments (e.g., image, audio, or PDF files),
          and a description of those attachments;
      m.a description of the reporting capabilities of the database;
      n. a description of any regular or standard reports generated from the
          database, and the frequency with which such reports are generated;
      o. whether the data stored in the database can be exported to Microsoft Excel
          or other readily available spreadsheet or database programs; and
      p. a description of the frequency with which the database is archived or
          backed up, and the method by which it is archived or backed up.

17.For each database identified in response to Interrogatory 17, provide a data
    dictionary. For each data field, provide the following information:

     Data Element Terms                         Data Element Definitions
     Field Name                                 Unique name
                                                Description of the meaning of the data
     Definition
                                                element
                                                Type of data (e.g., date, numeric, text, memo,
     Data Type
                                                floating point)
     Data Size                                  Maximum field length that will be accepted
                                                Format of data (e.g., YYYYMMDD,
     Data Format
                                                MM/DD/YYYY)
     Field Constraints: Data Element is a
                                                Required fields (Y) must be populated
     required field (Y/N)
                                                If a field can only take certain values or codes
     Enumeration (if applicable)                (e.g. A, B, or C), list those values and an
                                                explanation of their meaning
     Special, Dummy, Test Values                Include a narrative description (e.g., for calls

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                                             to 555-555-5555, describe that number as
                                             being used for internal testing, or for dates
                                             populated as 1/1/1900, specify what that
                                             value means)
                                             If the field is calculated, provide the formula
     Formula
                                             for the calculation.

18.For each Document the Company produces in response to Requests for
    Documents 1 through 13, provide the effective dates that each Document was in
    use. Provide this information in the following table format:

     Document          Bates    Title   Start                 End
     Request No.       No.              Effective Date        Effective Date


19.If, for any Interrogatory that calls for identification of a Person, there is no
    identifiable Person for the Applicable Period, identify the most recent identifiable
    Person, including Persons no longer affiliated with or employed by the Company.
    For each, specify the dates of affiliation or employment and any titles or positions
    held.

20.If, for any request, there are Documents that would be responsive but that are
    now unavailable, identify each Document and its last known location or
    custodian, and explain why the Document cannot be produced.

                        Requests for Written Reports

Produce the following data in tab-delimited text files, using double-quote-escaped
text fields when necessary. Where data derives from separate tables or dimensions,
use a separate text file for data elements along each separate dimension. This should
comply with at least the first normal form (1NF). Include both the unique identifiers
and foreign keys (as well as indicators of their function) in each file expressing the
relationship between these files. When data is available for some records and not
others, leave the unavailable data items blank. Omissions due to unavailability
should be described in narrative with the production. Individual records should
never contain a varying number of fields. Where information exists at the record
level requested but is not included in the individual Written Report Request, include
this information in additional columns in your response to the Written Report
Request. Additionally, provide any code used to generate and validate each Written
Report.

1. For each Creditor or third-party with Debt in the Company’s portfolio, and for
    each year during the Applicable Period, provide:

       a. the name of the Creditor or third-party;
       b. the unique identifier of Debt type;

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      c. the total number of Debts the Company attempted to collect in any way;
      d. the total dollar amount of the Debts the Company attempted to collect in
          any way; and
      e. the Company’s total revenue.

2. For each year during the Applicable Period, provide a log of all consumer
    complaints or disputes that the Company has received, including:

      a. the date on which the Company received the complaint or dispute;
      b. the name of the Person who submitted the request, and their:
               i. street address;
              ii. city;
             iii. state;
             iv. zip code;
              v. telephone number; and
             vi. email address;
      c. the unique identifier by which the Company identifies the Debt account
          related to the Person’s complaint or dispute;
      d. a brief description of the complaint or dispute (e.g., cease-and-desist, Debt
          validation, information furnishing to Consumer Reporting Agencies, etc.);
      e. whether the complaint or dispute was written or oral;
      f. the date that the Company initiated contact with the Person who
          submitted the complaint or dispute; and
      g. any notes, codes, or history associated with the investigation of the
          complaint or dispute; and
      h. an explanation of the resolution.

3. For each consumer complaint or credit report dispute the Company received
    directly from a Consumer Reporting Agency during the Applicable Period,
    provide:

      a. the name of the Consumer Reporting Agency that submitted the complaint
          or dispute;
      b. the unique identifier by which the Company identifies the Debt account
          related to the complaint or dispute;
      c. the date that the Company received the complaint or dispute;
      d. a brief description of the nature of the complaint or dispute (e.g.,
          identification theft, debt paid off, debtor’s mistaken identity, etc.);
      e. the response code;
      f. the dispute code(s) (in separate fields);
      g. any notes, codes, or history associated with the investigation of the
          complaint or dispute;
      h. the date of resolution; and
      i. the Company’s reason for closing the complaint or dispute.



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4. Identify all telephone calls that the Company has made in attempt to collect a
    Debt on behalf of a Creditor or third-party, and provide all associated elements as
    stored in your or your providers’ databases (e.g., Customer Relations
    Management systems and call recording systems) at a call level, including:
       a. account number associated with the call;
       b. unique identifier for the call;
       c. file reference for call recording, .wav file or similar;
       d. date and time of call;
       e. telephone number called;
       f. duration of call;
       g. unique operator ID associated with call;
       h. any call-type codes, disposition codes, resolution codes, product codes, or
           similar associated with the call (use separate columns);
       i. notes or comments associated with the call; and
       j. any other data unique to the call.

                            Requests for Documents

1. One copy of all unique policies and procedures related to Debt Collection
    Activities, including but not limited to Debt Collection notices and calls, skip
    tracing, investigations, use of telephone line(s) or service(s) not controlled by the
    Company, and logging of complaints or disputes concerning identity theft
    submitted by consumers and Consumer Reporting Agencies.

2. One copy of all unique telephone scripts the Company has used while attempting
    to collect a Debt.

3. To the extent not already provided, one copy of all unique technical and employee
    manuals, handbooks, guidance documents, and training materials relating to
    Debt Collection Activities.

4. One copy of all unique policies and procedures related to Information Furnishing
    Activities, including but not limited to providing an address for consumers to
    submit disputes, correcting and updating consumer information to be furnished,
    and logging of complaints or disputes concerning identity theft submitted by
    consumers and Consumer Reporting Agencies.

5. To the extent not already provided, one copy of each unique technical and
    employee manuals, handbooks, guidance, and training materials relating to
    credit Information Furnishing Activities.

6. To the extent not already provided, one copy of all other unique policies and
    procedures for addressing consumers’ complaints or disputes.

7. One copy of each unique policies and procedures for complying with laws relating
    to Debt Collection Activities and credit Information Furnishing Activities,
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   including the FDCPA, FCRA, and state and federal laws prohibiting unfair,
   deceptive, or abusive acts and practices.

8. One copy of all unique templates, models, or form Documents the Company has
    used to notify consumers of their Debt verification rights.

9. One copy of all unique templates, models, or form Documents the Company has
    used to respond to consumers’ oral or written Debt validation requests.

10.One copy of all unique templates, models, or form Documents that the Company
    has used to respond to consumer complaints or disputes, including cease-and
    desist requests.

11.One copy of all other unique templates, models, or form Documents or letters
    that the Company has used in the attempt to collect a Debt from a consumer.

12.All audits relating to the Company’s Debt Collection Activities, including but not
    limited to quality-assurance and compliance reviews of the Company’s
    compliance with the Company’s policies and procedures, the FDCPA, FCRA, and
    state and federal laws prohibiting unfair, deceptive, or abusive acts and practices.

13.Audited financial statements, including the corresponding footnote disclosures,
    balance sheets, income statements, statements of cash flows, and statements of
    changes in owners’ equity for the Applicable Period through the latest month
    available for 2019. If no audited financial statements exist, unaudited financial
    statements along with the corresponding footnote disclosures.

                        Requests for Tangible Things

1. Metadata from call systems and related systems, including call notes, for all
    telephone calls made or received by the Company in an attempt to collect a Debt
    from a consumer.

2. Recordings of all telephone calls between the Company and any Consumer
    relating to the Company’s attempt to collect on a consumer Debt in the
    Company’s portfolio.

3. Recordings of all telephone calls between the Company and any third-party
    natural persons (excluding any Creditor or any third-party for which the
    Company is performing or had performed Debt Collection Activities) relating to
    the Company’s attempt to collect on a consumer Debt in the Company’s portfolio.

4. For each account for which the Company made a call responsive to Requests for
    Tangible Things 2 and 3, identify all phone numbers authorized associated with
    the account. Provide each phone number as a separate observation, with fields for


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             the original account number associated with the phone number and any notes
             regarding the type of number (e.g., home, work, cell, or spouse work).

II.   Definitions.

       A.   “And” and “or” must be construed both conjunctively and disjunctively.

       B.   “Any” includes “all,” and “all” includes “any.”

       C.   “CID” means the Civil Investigative Demand, including the Requests, Topics for
       Hearing, Definitions, and Instructions.

       D.    “Bureau” means the Bureau of Consumer Financial Protection.

       E.   “Company” or “you” or “your” means the Law Offices of Crystal Moroney, P.C.,
       and any successor in interest.

       F.    “Consumer” or “Debtor” means any natural person obligated or allegedly
       obligated to pay any Debt as defined in the Fair Debt Collection Practices Act, 15 U.S.C.
       § 1692a(3).

       G.   “Consumer Reporting Agency” means “consumer reporting agency” as
       defined in the Fair Credit Reporting Act, 15 U.S.C. § 1681a(f).

       H.    “Debt” means any obligation or alleged obligation of a consumer to pay money
       arising out of a transaction in which the money, property, insurance, or services which
       are the subject of the transaction are primarily for personal, family, or household
       purposes, whether or not such obligation has been reduced to judgment as defined in
       the Fair Debt Collection Practices Act, 15 U.S.C. § 1692a(5).

       I.   “Debt Collection Activities” means all activities, including attempts, to collect
       a Debt either directly or indirectly (excluding the provision of legal services).

       J.     “Demand Letter” means any document sent to a Consumer in an effort to
       collect a Debt.

       K.     “Deputy Enforcement Director” refers to a Deputy Assistant Director of the
       Office of Enforcement.

       L.    “Document” means any written matter of every type and description, including
       electronically stored information. “Document” includes any non-identical copy (such as
       a draft or annotated copy) of another document.

       M.   “Each” includes “every,” and “every” includes “each.”

       N.   “Electronically Stored Information,” or “ESI,” means the complete original

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        and any non-identical copy (whether different from the original because of notations,
        different metadata, or otherwise) of any electronically created or stored information,
        including but not limited to e-mail, instant messaging, videoconferencing, SMS, MMS,
        or other text messaging, and other electronic correspondence (whether active, archived,
        unsent, or in a sent or deleted-items folder), word-processing files, spreadsheets,
        databases, unorganized data, document metadata, presentation files, and sound
        recordings, regardless of how or where the information is stored, including if it is on a
        mobile device.

        O.   “Enforcement Director” refers to the Assistant Director of the Office of
        Enforcement.

        P.    “Fair Credit Reporting Act” or “FCRA” means the Fair Credit Reporting Act,
        15 U.S.C. § 1681 et seq.

        Q.    “Fair Debt Collection Practices Act” or “FDCPA” means the Fair Debt
        Collection Practices Act, 15 U.S.C. § 1692 et seq.

        R.     “Identify” means to provide: (a) for natural persons, their name, title or
        position, present business affiliation, present business address, e-mail address, and
        telephone number, or if a present business affiliation or present business address is not
        known, the last known business address, home address, e-mail address, and telephone
        number; (b) for businesses or other organizations, the name, address, identities of
        officers, directors, or managers of the business or organization, and contact persons
        with e-mail addresses and telephone numbers, where applicable; and (c) for documents,
        the title, date, authors, recipients, Bates numbers, if applicable, type of document or
        some other means of identifying the document, and the present or last known location
        or custodian.

        S.    “Information Furnishing Activities” means all activities related to efforts to
        furnish consumer information to a Consumer Reporting Agency, either directly or
        indirectly.

        T.     “Person” means an individual, partnership, company, corporation, association
        (incorporated or unincorporated), trust, estate, cooperative organization, or other
        entity.

III.      Instructions.

        A.    Sharing of Information: This CID relates to a nonpublic, law-enforcement
        investigation being conducted by the Bureau. The Bureau may make its files available to
        other civil and criminal federal, state, or local law-enforcement agencies under 12 C.F.R.
        §§ 1070.43(b)(1) and 1070.45(a)(5). Information you provide may be used in any civil or
        criminal proceeding by the Bureau or other agencies. As stated in 12 C.F.R. § 1080.14,
        information you provide in response to this CID is subject to the requirements and
        procedures relating to the disclosure of records and information set forth in 12 C.F.R. pt.

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1070.

B.    Meet and Confer: As stated in 12 C.F.R. § 1080.6(c), you must contact
Enforcement Attorney E. Vanessa Assae-Bille at (202) 435-7688 as soon as
possible to schedule a meeting (telephonic or in person) to discuss your response to the
CID. The meeting must be held within 10 calendar days after you receive this CID or
before the deadline for filing a petition to modify or set aside the CID, whichever is
earlier.

C.   Applicable Period for Responsive Materials: Unless otherwise directed,
the applicable period for the request is from January 1, 2014, until the date of this
CID (“Applicable Period”).

D.     Privilege Claims: If any material responsive to this CID is withheld on the
grounds of privilege, you must make the privilege claim no later than the date set for the
production of the material. As stated in 12 C.F.R. § 1080.8(a), any such claim must
include a schedule of the documents, information, or tangible things withheld that
states, for each:

        1.   its type, specific subject matter, and date;

        2.   the names, addresses, positions, and organizations of all authors and
              direct or indirect recipients;

        3.   the specific grounds for claiming the privilege;

        4.   the request to which the privileged document, information, or thing is
              responsive; and

        5.   its Bates number or range.

In addition, the person who submits the schedule and the attorney stating the grounds
for the privilege must sign it. A person withholding material solely based on a claim of
privilege must comply with the requirements of 12 C.F.R. § 1080.8 rather than file a
petition for an order modifying or setting aside a demand under 12 C.F.R. § 1080.6(e).
Please follow the enclosed Document Submission Standards for further instructions
about producing redacted privileged documents.

E.     Document Retention: Until you are notified otherwise, you are required to
retain all documents and other tangible things that you used or relied on in responding
to this CID. In addition, you must retain, and suspend any procedures that may result in
the destruction of, documents, information, or tangible things that are in any way
relevant to the investigation, as described in the CID’s Notification of Purpose. You are
required to prevent the destruction of relevant material irrespective of whether you
believe such material is protected from future disclosure or discovery by privilege or
otherwise. See 18 U.S.C. §§ 1505, 1519.

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F.    Modification Requests: If you believe that the scope of the search or response
required by this CID can be narrowed consistent with the Bureau’s need for documents
or information, you are encouraged to discuss such possible modifications, including
modifications of the requirements of these instructions, with Enforcement Attorney E.
Vanessa Assae-Bille at (202) 435-7688. Modifications must be agreed to in writing
by the Enforcement Director or a Deputy Enforcement Director. 12 C.F.R. § 1080.6(d).

G.     Petition for Order Modifying or Setting Aside Demand: Under
12 U.S.C. § 5562(f) and 12 C.F.R. § 1080.6(e), you may petition the Bureau for an order
modifying or setting aside this CID. To file a petition, you must send it by e-mail to the
Bureau’s Executive Secretary at ExecSec@cfpb.gov, copying the Enforcement Director at
Enforcement@cfpb.gov, within 20 calendar days of service of the CID or, if the return
date is less than 20 calendar days after service, before the return date. The subject line
of the e-mail must say “Petition to Modify or Set Aside Civil Investigative Demand.” If a
request for confidential treatment is filed, you must file a redacted public petition in
addition to the unredacted petition. All requests for confidential treatment must be
supported by a showing of good cause in light of applicable statutes, rules, Bureau
orders, court orders, or other relevant authority.

H.     Certification: The person to whom the CID is directed or, if it is directed to an
entity, any person having knowledge of the facts and circumstances relating to the
production, must certify that the response to this CID is true and complete. This
certification must be made on the form declaration included with this CID.

I.   Scope of Search: This CID covers materials and information in your
possession, custody, or control, including but not limited to documents in the
possession, custody, or control of your attorneys, accountants, other agents or
consultants, directors, officers, and employees.

J.    Document Production: The Bureau encourages the electronic production of
all material responsive to this CID; please follow the enclosed Document Submission
Standards.

All packages destined for Bureau offices should be addressed to:

          Consumer Financial Protection Bureau
          1700 G Street, NW
          ATTN: Annais Ramírez-Velázquez, SEFL, Office of Enforcement, Seat 8125E.1
          Washington, DC 20552

Please provide your intended method of production and any tracking numbers by e-mail
or telephone to Enforcement Attorney E. Vanessa Assae-Bille at Elisabeth.Assae-
Bille@cfpb.gov and (202) 435-7688.

K.    Document Identification: Documents that may be responsive to more than

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one request of this CID need not be submitted more than once. All documents
responsive to this CID must be accompanied by an index that identifies: (i) the name of
each custodian of each responsive document; (ii) the corresponding Bates number or
range used to identify that person’s documents; and (iii) the request or requests to
which each document responds.

L.    Sensitive Personally Identifiable Information: If any material called for
by these requests contains sensitive personally identifiable information, or sensitive
health information of any individual, please contact Enforcement Attorney E. Vanessa
Assae-Bille at (202) 435-7688 before sending those materials to discuss ways to
protect the information during production. You must encrypt electronic copies of such
materials with encryption software acceptable to the Bureau. When submitting
encrypted material, you must provide the encryption key, certificate, or passcode in a
separate communication.

For purposes of this CID, sensitive personally identifiable information includes an
individual’s Social Security number alone or an individual’s name, address, or phone
number in combination with one or more of the following: date of birth, Social Security
number, driver’s-license number or other state-identification number, or a foreign
country equivalent, passport number, financial-account number, credit-card number, or
debit-card number. Sensitive health information includes medical records and other
individually identifiable health information relating to the past, present, or future
physical or mental health or conditions of an individual, the provision of health care to
an individual, or the past, present, or future payment for the provision of health care to
an individual.

M.     Information Identification: Each request for a written report or
interrogatory in this CID must be answered separately and fully in writing under oath.
All information submitted must clearly and precisely identify the request or requests to
which it is responsive.

N.    Submission of Documents in lieu of Reports or Answers: Documents in
existence before your receipt of this CID that contain the information requested in any
interrogatory may be submitted as part of or in lieu of an answer to the interrogatory. If
you submit documents as part of or in lieu of an answer, you must clearly indicate the
specific request to which the documents are responsive, and you must clearly identify
the specific portion of the documents that are responsive, including page, paragraph,
and line numbers, as applicable.

O.    Declaration Certifying Records of Regularly Conducted Business
Activity: Attached is a Declaration Certifying Records of Regularly Conducted Business
Activity, which may limit the need to subpoena you to testify at future proceedings to
establish the admissibility of documents produced in response to this CID. Please
execute this Declaration and provide it with your response.

P.    All references to “year” or “annual” refer to the calendar year. Where

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information is requested “for each year,” provide it separately for each year; where
yearly data is not available, provide responsive information for the calendar year to date,
unless otherwise instructed.

Q.     Duty to Estimate: If you are unable to answer any interrogatory fully, supply
such information as is available. Explain why such answer is incomplete, the efforts you
made to obtain the information, and the source from which the complete answer may be
obtained. If books and records that provide accurate answers are not available, enter
best estimates and describe how the estimates were derived, including the sources or
bases of such estimates. Estimated data should be followed by the notation “est.” If there
is no reasonable way to make an estimate, provide an explanation.




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                                                                                            

                  CERTIFICATE OF COMPLIANCE WITH RFPA


       The Right to Financial Privacy Act of 1978 (RFPA) does not apply to the
disclosure of financial records or information to the Bureau of Consumer Financial
Protection “in the exercise of its authority with respect to a financial institution.” 12
U.S.C. § 3413(r). This civil investigative demand is also issued in connection with an
investigation within the meaning of section 3413(h)(1)(A) of the RFPA. Therefore, in
accordance with section 3403(b) of the RFPA, the undersigned certifies that, to the
extent applicable, the provisions of the RFPA have been complied with as to the Civil
Investigative Demand issued to Law Offices of Crystal Moroney, P.C., to which this
Certificate is attached.

       The information obtained will be used to determine whether the persons named
or referred to in the attached Civil Investigative Demand are in compliance with laws
administered by the Bureau of Consumer Financial Protection. The information may be
transferred to another department or agency consistent with the RFPA.

       Under the RFPA, good faith reliance on this certificate relieves the recipient and
its employees and agents of any liability to customers in connection with the requested
disclosures of financial records of these customers. See 12 U.S.C. § 3417(c).



                                                         Digitally signed by Deborah
                                           Deborah       Morris

                                           Morris        Date: 2019.11.14 11:10:04
                                           _____________________
                                                         -05'00'

                                           Deborah Morris
                                           Bureau of Consumer Financial Protection
                                           Deputy Director, Office of Enforcement




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                 DECLARATION CERTIFYING RECORDS OF
               REGULARLY CONDUCTED BUSINESS ACTIVITY
                      Pursuant to 28 U.S.C. § 1746

I, ______________________________, pursuant to 28 U.S.C. § 1746, declare
that:

   1. I am employed by _____________________ as ___________________

      and by reason of my position am authorized and qualified to certify the

      authenticity of the records produced by Law Offices of Crystal Moroney, P.C. and

      submitted with this Declaration.

   2. The documents produced and submitted with this Declaration by Law Offices of

      Crystal Moroney, P.C. are true copies of records of regularly conducted activity

      that were:

          a. made at or near the time of the occurrence of the matters set forth, by, or

             from information transmitted by, a person with knowledge of those

             matters;

          b. kept in the course of the regularly conducted business activity; and

          c. made by the regularly conducted business activity as a regular practice.

I certify under penalty of perjury that the foregoing is true and correct. Executed on

___________________.



                                                __________________________
                                                Signature
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
                           CERTIFICATE OF COMPLIANCE


I, _________________________________________, pursuant to 28 U.S.C. §

1746, declare that:



    1. I have confirmed that a diligent search has been made for all responsive documents

       and information in the possession, custody, or control of Law Offices of Crystal

       Moroney, P.C..

    2. All of the documents and information identified through the search described in

       paragraph 1 above required by the Civil Investigative Demand dated November

       14th, 2019 that are within the possession, custody, or control of Law Offices of

       Crystal Moroney, P.C. have been submitted to the Bureau custodian or deputy

       custodian identified in this Civil Investigative Demand.

    3. If a document or tangible thing responsive to this Civil Investigative Demand has

       not been submitted, an interrogatory or a portion of an interrogatory has not been

       fully answered, or a report or a portion of a report has not been completed, a claim

       of privilege in compliance with 12 C.F.R. § 1080.8 has been submitted.

    4. Law Offices of Crystal Moroney, P.C. has reviewed all responsive answers, reports,

       other documents and tangible things (collectively “Responses”), and has

       designated as confidential all those Responses, and only those Responses, the

       disclosure of which would cause substantial harm to the competitive position of

       Law Offices of Crystal Moroney, P.C., as that term is used for purposes of the

       Freedom of Information Act.
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
I certify under penalty of perjury that the foregoing is true and correct. Executed on

___________________.



                                               ____________________________
                                               Signature

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Civil Investigative Demand
Document Submission
Standards
BCFP Office of Enforcement
       Docu Civil Investigative




 1   BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS   July 2018
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CID Document Submission Standards
This describes the technical requirements for producing electronic document collections to the
Bureau of Consumer Financial Protection (“the Bureau”)’s Office of Enforcement. All documents
shall be produced in complete form, in color when necessary to interpret the document,
unredacted unless privileged, and shall not be edited, cut, or expunged. These standards must
be followed for all documents you submit in response to the CID. Any proposed file formats
other than those described below must be discussed with the legal and technical staff of the
Bureau’s Office of Enforcement prior to submission.




2    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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3          BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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A. Transmittal Instructions
    1) A cover letter should be included with each production. The following information
       should be included in the letter:
       a) Name of the party making the production and the date of the CID to which the
           submission is responsive.
       b) List of each piece of media (hard drive, thumb drive, DVD or CD) included in the
           production (refer to the media by the unique number assigned to it, see ¶ 4)
       c) List of custodians, identifying:
           i) The Bates Range (and any gaps therein) for each custodian,
           ii) Total number of images for each custodian, and
           iii) Total number of native files for each custodian
       d) List of fields in the order in which they are listed in the metadata load file.
       e) The specification(s) or portions thereof of the CID to which the submission is
           responsive.
    2) Documents created or stored electronically MUST be produced in their original
       electronic format, not converted to another format such as PDF.
    3) Data may be produced on CD, DVD, USB thumb drive, or hard drive; use the media
       requiring the least number of deliverables.
       a) Magnetic media shall be carefully packed to avoid damage and must be clearly
           marked on the outside of the shipping container:
           i) “MAGNETIC MEDIA – DO NOT USE METAL DETECTOR”
           ii) “MAY BE OPENED FOR POSTAL INSPECTION”
       b) CD-R CD-ROMs should be formatted to ISO 9660 specifications;
       c) DVD-ROMs for Windows-compatible personal computers are acceptable;
       d) USB 2.0 thumb drives for Windows-compatible personal computers are
           acceptable;
       e) USB 3.0 or USB 3.0/eSATA external hard disk drives, formatted in a Microsoft
           Windows-compatible file system (FAT32 or NTFS), uncompressed data are
           acceptable.
    4) Label all media with the following:
       a) Production date
       b) Bates range
       c) Disk number (1 of X), if applicable
       d) Name of producing party
       e) A unique production number identifying each production
    5) All productions must be produced free of computer viruses. Infected productions may
       affect the timing of your compliance with the CID.


4    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
       Case 7:20-cv-03240-KMK Document 1-3 Filed 04/24/20 Page 27 of 49




    6) All produced media must be encrypted. Encryption format must be agreed upon prior to
       production.
       a) Data deliveries should be encrypted at the disc level.
       b) Decryption keys should be provided separately from the data delivery via email or
           phone.
    7) Passwords for documents, files, and compressed archives should be provided separately
       either via email or in a separate cover letter from the data.


B. Delivery Formats
    1) General ESI Standards
       Before submitting any Electronically Stored Information (“ESI”) or any other documents
       submitted in electronic form that do not conform completely to the listed specifications,
       you must confirm with the Bureau that the proposed formats and media types that
       contain such ESI will be acceptable. You are encouraged to discuss your specific form of
       submission, and any related questions with the Bureau as soon as is practicable and not
       later than the Meet and Confer required pursuant to 12 C.F.R. § 1080.6(c).

       All productions must follow the specifications outlined below:

       De-duplication
       De-duplication of documents should be applied across custodians (global); each
       custodian should be identified in the Custodian field in the metadata load file separated
       by semi-colon. The first name in the Custodian list should represent the original holder
       of the document.

       Bates Numbering Documents
       The Bates number must be a unique, sequential, consistently formatted identifier, i.e.,
       an alpha prefix unique to each producing party along with a fixed length number, i.e.,
       ABC0000001. This format must remain consistent across all productions. There should
       be no space in between the prefix and the number. The number of digits in the numeric
       portion of the format should not change in subsequent productions, nor should hyphens
       or other separators be added or deleted.

       Document Retention / Preservation of Metadata
       The recipient of this CID should use reasonable measures to maintain the original native
       source documents in a manner so as to preserve the metadata associated with these




5    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
       Case 7:20-cv-03240-KMK Document 1-3 Filed 04/24/20 Page 28 of 49




       electronic materials as it existed at the time of the original creation.

    2) Native and Image Production
       In general, and subject to the specific instructions below: (1) produce electronic
       documents in their complete native/original format along with corresponding bates-
       labeled single page TIFF images (with the exception of large spreadsheets and/or text
       files, those files should be processed and a placeholder TIFF image indicating that they
       were produced natively provided); (2) scan and process all paper documents into single
       page TIFF images, OCR the images, and apply bates numbers to each page of the image;
       (3) produce fully searchable document level text for every produced document; and (4)
       produce metadata for every produced document in a data file that conforms to the
       specific instructions below.

       a) Metadata File
          All produced documents, regardless of their original file format, must be produced
          with the below-described metadata fields in a data file (.DAT).
          i) The first line of the .DAT file must be a header row identifying the field names.
          ii) The .DAT file must use the following default delimiters:

TABLE 1:   DAT FILE DELIMITERS


               Comma                         ¶                ASCII character (020)

               Quote                         Þ                ASCII character (254)


               Newline                       ®                ASCII character (174)




           iii) Date fields should be provided in the format: mm/dd/yyyy
           iv) All attachments should sequentially follow the parent document/email.
           v) All documents shall be produced in both their native/original form and as a
                corresponding bates-labeled single page TIFF image; provide the link to the
                original/native document in the NATIVELINK field.
           vi) Produce extracted metadata for each document in the form of a .DAT file, and
                include these fields (fields should be listed but left blank if not applicable):




6    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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TABLE 2:     DAT FILE FIELDS

    Field Name                       Description
                                     Required Fields
    BATES_BEGIN                First Bates number of native file document/email
                               Last Bates number of native file document/email
    BATES_END                  **The BATES_END field should be populated for single
                               page documents/emails
    ATTACH BEGIN               First Bates number of attachment/family range
    ATTACH END                 Last Bates number of attachment/family range
                               Populates parent records with original filenames of all
    ATTACH_NAME
                               attached records, separated by semi-colons.
    PRIV                       Indicate “YES” if document has a Privilege claim
                               Indicate Interrogatory number(s) document is
    ROG_NUM                    responsive to. (ROG ##) If multiple, separate by semi-
                               colon
                               Indicate Document Request document is responsive to.
    DR_NUM
                               (DR ##) If multiple, separate by semi-colon
                               Email: Populate field as “E-Mail”
                               Email Attachment: Populate field as “Attachment (E-
                                                   mail)”
    RECORDTYPE
                               Loose Native: Populate field as “E-Document”
                               Other Attachment: Populate field as “Attachment”
                               Scanned Paper: Populate field as “Paper”
                               Individual(s) or department(s) from which the
    CUSTODIAN                  record originated
                               **semi-colon should be used to separate multiple entries
                               Email: Filename of loose email or subject of non-loose
    FILENAME                   email
                               Non-email: original file name
    PGCOUNT                    Number of pages in document/email
    MD5HASH                    The 32 digit value representing each unique document
                               Email: Path to email container and email container name
    SOURCE
                               Non-email: Original path to source archive folder or files
                               Email: Folder path within email container
    FOLDERPATH
                               Non-email: Folder path to file
    DATE_CREATED               The date the electronic file was created
    TIME_CREATED               The time the electronic file was created
    DATE_MOD                   Date an electronic file was last modified
    TIME_MOD                   Time an electronic file was last modified
    PRINT_DATE                 Date the document was last printed
    PRINT_TIME                 Time the document was last printed



7      BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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    FILE_SIZE                    Size of native file document/email in KB
                                 The file extension representing the email or
    FILE_EXT
                                 native file document
                                 Email: (empty)
    AUTHOR
                                 Non-email: Author of the document
    SUBJECT                      Subject metadata from electronic files (non-email)
    COMPANY                      Company (organization) metadata from electronic files
                                 Hyperlink to the email or native file document
    NATIVELINK                   **The linked file must be named per the BATES_BEGIN
                                 Number
                                 Contains path to OCR/Extracted text file that is titled after
    TEXTPATH
                                 the document BATES_BEGIN
                          Additional Fields for Email Productions
    FROM                         Sender of email
                                 Recipient(s) of email
    TO
                                 **semi-colon should be used to separate multiple entries
                                 Carbon copy recipient(s)
    CC
                                 **semi-colon should be used to separate multiple entries
                                 Blind carbon copy recipient(s)
    BCC
                                 **semi-colon should be used to separate multiple entries
    EMAIL_SUBJECT                “Subject” line of the email
    DATE_SENT                    Date and time that the email message was sent.
    DATE_RECVD                   Date and time that the email message was received.

    TIME_ZONE                    Time Zone processed in

    CONVERSATION_INDEX           Conversation thread ID/Index value
                                 Populated only for email attachments, this field will
    PARENT_ID                    display the Image Tag field value of the attachment
                                 record’s parent.

          b) Document Text
             Searchable text of the entire document must be provided for every record, at the
             document level.
             i) Extracted text must be provided for all documents that originated in electronic
                 format.
                 Note: Any document in which text cannot be extracted must be OCR’d.
             ii) For documents redacted on the basis of any privilege, provide the OCR text for
                 unredacted/unprivileged portions.




8        BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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          iii) The text should be delivered in the following method: As multi-page ASCII text
               files with the files named the same as the Bates_Begin field. Text files can be
               placed in a separate folder or included with the .TIFF files.
       c) Linked Native Files
          Copies of original email and native file documents/attachments must be included for
          all electronic productions.
          i) Native file documents must be named per the BATES_BEGIN number (the
               original file name should be preserved and produced in the FILENAME metadata
               field).
          ii) The full path of the native file must be provided in the .DAT file in the
               NATIVELINK field.
       d) Images
          i) Images should be single-page, Group IV TIFF files, scanned at 300 dpi.
          ii) File names should be titled per endorsed bates number.
          iii) Color should be preserved when necessary to interpret the document.
          iv) Bates numbers should be endorsed on the lower right corner of all images.
          v) For documents partially redacted on the basis of any privilege, ensure the
               redaction box is clearly labeled “REDACTED”.
       e) Image Cross Reference File
          i) The image cross-reference file is needed to link the images to the database. It is
               a comma-delimited file consisting of seven fields per line. There must be a line in
               the cross-reference file for every image in the database.

TABLE 3:   IMAGE CROSS REFERENCE FILE FIELDS

               Field Title        Description
                ImageID            The unique designation use to identify an image.
                                   Note: This imageID key must be a unique and fixed length
                                   number. This number will be used in the.DAT file as the ImageID
                                   field that links the database to the images. The format of
                                   this image key must be consistent across all productions. We
                                   recommend that the format be an eight digit number to allow
                                   for the possible increase in the size of a production.
                VolumeLabel        Optional
                ImageFilePath      The full path to the image file.
                                   The letter “Y” denotes the first page of a document. If this field
                DocumentBreak
                                   is blank, then the page is not the first page of a document.
                FolderBreak        Leave empty
                BoxBreak           Leave empty
                PageCount          Optional




9    BUREAU OF CONSUMER FINANCIAL PROTECTION – DOCUMENT SUBMISSION STANDARDS
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                                    *This file should not contain a header row.


              SAMPLE:
              IMG0000001,OPTIONALVOLUMENAME,E:\001\IMG0000001.TIF,Y,,,3
              IMG0000002,OPTIONALVOLUMENAME,E:\001\IMG0000002.TIF,,,,
              IMG0000003,OPTIONALVOLUMENAME,E:\001\IMG0000003.TIF,,,,
              IMG0000004,OPTIONALVOLUMENAME,E:\001\IMG0000004.TIF,Y,,,1
              IMG0000005,OPTIONALVOLUMENAME,E:\001\IMG0000005.TIF,Y,,,2
              IMG0000006,OPTIONALVOLUMENAME,E:\001\IMG0000006.TIF,,,,


     3) PDF File Production
        When approved, Adobe PDF files may be produced in lieu of TIFF images for scanned
        paper productions (metadata must also be produced in accordance with the instructions
        above):
        a) PDF files should be produced in separate folders named by the Custodian.
        b) All PDFs must be unitized at the document level, i.e. each PDF should represent a
             discrete document; a single PDF cannot contain multiple documents.
        c) All attachments should sequentially follow the parent document.
        d) All PDF files must contain embedded text that includes all discernible words within
             the document, not selected text only. This requires all layers of the PDF to be
             flattened first.
        e) If PDF files are Bates endorsed, the PDF files must be named by the Bates range
        f) The metadata load file listed in 2.a. should be included.
     4) Transactional Data
        If transactional data must be produced, further discussion must be had to ensure the
        intended export is properly composed. If available, a data dictionary should accompany
        the production, if unavailable; a description of fields should accompany transactional
        data productions. The following formats are acceptable:
             •MS Access
             •XML
             •CSV
             •TSV
             •Excel (with prior approval)
     5) Audio/Video/Electronic Phone Records
        a) Audio files must be produced in a format that is playable using Microsoft Windows
            Media Player. Types of audio files that will be accepted include:
            •Nice Systems audio files (.aud). AUD files offer efficient compression and would be




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           preferred over both NMF and WAV files.
           •Nice Systems audio files (.nmf).
           •WAV Files
           •MP3, MP4
           •WMA
           •AIF

           Produced audio files must be in a separate folder compared to other data in the
           production.

           Additionally, the call information (metadata) related to each audio recording must
           be produced if it exists. The metadata file must be produced in delimited text format
           (DAT, CSV, or TXT), using a tab or pipe delimiter. Field names must be included in the
           first row of the metadata file. Please note that the field names are case sensitive and
           should be created as listed below. The metadata must include, if available, the
           following fields:


TABLE 4:   AUDIO METADATA FIELDS


              Field Name                           Description
               AgentName                            Name of agent/employee
               AgentId                              Unique identifier of agent/employee
               Group                                Name for a collection of agents
               Supervisor                           Name of the Agent’s supervisor
               Site                                 Location of call facility
                                                    Dialed Number Identification Service,
               DNIS                                 identifies the number that was originally
                                                    called
               Extension                            Extension where call was routed
                                                    Identifies whether the call was inbound,
               CallDirection
                                                    outbound, or internal
               CallType                             Purpose of the call
               DURATION                             Duration of call
               CustomerId                           Customer's identification number
               CustomerCity                         Customer's city of residence
               CustomerState                        Customer's state of residence
                                                    Date and start time of call (MM/DD/YYYY
               CallDateTime
                                                    HH:MM:SS)
               CUSTOMERNAME                         Name of person called
               FileName                             Filename of audio file
               BATES_BEGIN                          Unique number of the audio file



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                CALLEDPARTYNUMBER                      The call center or phone number called
                CALLSIZE                               File size of audio file
                CALLSERVICE                            Call service code
                                                       The 32 digit value representing each unique
                MD5HASH
                                                       document
                                                       Document request number to which the file is
                DOC_REQ
                                                       responsive
                                                       Individual(s) or department(s) from which the
                CUSTODIAN
                                                       recording originated
                                                       Folder path of the audio file in the original
                FOLDERPATH
                                                       source
                SOURCE                                 Original path to where the source file resided
                TIMEZONE                               The time zone of the original call
                                                       A unique group identifier for grouping multiple
                GROUPID
                                                       calls
                CODEC                                  Encoding/decoding of the audio digital stream
                                                       The number of bits that are conveyed or
                BITRATE
                                                       processed per unit of time


               Supported Date Format                    Example
                mm/dd/yyyy hh:mm:ss am/pm                01/25/1996 10:45:15 am


            The filename is used to link the metadata to the produced audio file. The file name
            in the metadata and the file name used to identify the corresponding audio file must
            match exactly.

        b) Video files must be produced in a format that is playable using Microsoft Windows
           Media Player along with any available metadata. If it is known that the video files do
           not contain associated audio, indicate this in the accompanying transmittal letter.
           Types of video files accepted include:
           •MPG
           •AVI
           •WMV
           •MOV
           •FLV


C. Production of Partially Privileged Documents
     If a portion of any material called for by this CID is withheld based on a claim of privilege,
     those portions may be redacted from the responsive material as long as the following
     conditions are met.




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      a) If originally stored as native electronic files, the image(s) of the unredacted portions
          are submitted in a way that preserves the same appearance as the original without
          the redacted material (i.e., in a way that depicts the size and location of the
          redactions). The OCR text will be produced from the redacted image(s). Any
          redacted, privileged material should be clearly labeled to show the redactions on the
          tiff image(s). Any metadata not being withheld for privilege should be produced in
          the DAT file; any content (e.g., PowerPoint speaker notes, Word comments, Excel
          hidden rows, sheets or columns) contained within the native and not being withheld
          for privilege should be tiffed and included in the production.

      b) If originally in hard copy form, the unredacted portions are submitted in a way that
          depicts the size and location of the redactions; for example, if all of the content on a
          particular page is privileged, a blank, sequentially numbered page should be
          included in the production where the responsive material, had it not been
          privileged, would have been located.




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                     %85($82)CONSUMER FINANCIAL PROTECTION
                                 Washington, D.C. 20552

                              Notice to Persons Supplying Information

       You have been asked to supply information or speak voluntarily, or directed to provide sworn
testimony, documents, or answers to questions in response to a civil investigative demand (CID)
from the %XUHDXRIConsumer Financial Protection (Bureau). This notice discusses certain legal rights
and responsibilities. Unless stated otherwise, the information below applies whether you are
providing information voluntarily or in response to a CID.

A.     False Statements; Perjury

       False Statements. Section 1001 of Title 18 of the United States Code provides as follows:

       [W]hoever, in any matter within the jurisdiction of the executive … branch of the Government
       of the United States, knowingly and willfully-- (1) falsifies, conceals, or covers up by any trick,
       scheme, or device a material fact; (2) makes any materially false, fictitious, or fraudulent
       statement or representation; or (3) makes or uses any false writing or document knowing the
       same to contain any materially false, fictitious, or fraudulent statement or entry; shall be fined
       under this title …[or] imprisoned not more than 5 years …, or both.

       Perjury. Section 1621 of Title 18 of the United States Code provides as follows:

       Whoever … having taken an oath before a competent tribunal, officer, or person, in any case in
       which a law of the United States authorizes an oath to be administered, that he will testify,
       declare, depose, or certify truly or that any written testimony, declaration, deposition, or
       certificate by him subscribed, is true willfully and contrary to such oath states or subscribes any
       material matter which he does not believe to be true … is guilty of perjury and shall, except as
       otherwise expressly provided by law, be fined under this title or imprisoned not more than five
       years, or both. This section is applicable whether the statement or subscription is made within
       or without the United States.

B.     The Fifth Amendment; Your Right to Counsel

        Fifth Amendment. Information you provide may be used against you in any federal, state, local
or foreign administrative, civil or criminal proceeding brought by the Bureau or any other agency. If
you are an individual, you may refuse, in accordance with the rights guaranteed to you by the Fifth
Amendment to the Constitution of the United States, to give any information that may tend to
incriminate you or subject you to criminal liability, including fine, penalty or forfeiture.

        Counsel. You have the right to be accompanied, represented and advised by counsel of your
choice. For further information, you should consult Bureau regulations at 12 C.F.R. § 1080.9(b).



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C.     Effect of Not Supplying Information

       Persons Directed to Supply Information Pursuant to CID. If you fail to comply with the CID,
the Bureau may seek a court order requiring you to do so. If such an order is obtained and you still fail
to supply the information, you may be subject to civil and criminal sanctions for contempt of court.

       Persons Requested to Supply Information Voluntarily. There are no sanctions for failing to
provide all or any part of the requested information. If you do not provide the requested information,
the Bureau may choose to send you a CID or subpoena.

D.     Privacy Act Statement

       The information you provide will assist the Bureau in its determinations regarding violations of
Federal consumer financial laws. The information will be used by and disclosed to Bureau personnel
and contractors or other agents who need the information to assist in activities related to enforcement of
Federal consumer financial laws. The information may also be disclosed for statutory or regulatory
purposes, or pursuant to the Bureau’s published Privacy Act system of records notice, to:

       x    a court, magistrate, administrative tribunal, or a party in litigation;
       x    another federal or state agency or regulatory authority;
       x    a member of Congress; and
       x    others as authorized by the Bureau to receive this information.

This collection of information is authorized by 12 U.S.C. §§ 5511, 5562.




                                                      2
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                                             § 1081.405       Decision of the Director.                § 1081.406        Reconsideration.                      Director. The Director may, in his or her
                                                (a) Upon appeal from or upon further                      Within 14 days after service of the                  discretion, and on such terms as he or
                                             review of a recommended decision, the                     Director’s final decision and order, any                she finds just, stay the effectiveness of
                                             Director will consider such parts of the                  party may file with the Director a                      all or any part of an order pending a
                                             record as are cited or as may be                          petition for reconsideration, briefly and               final decision on a petition for judicial
                                             necessary to resolve the issues                           specifically setting forth the relief                   review of that order.
                                             presented and, in addition, will, to the                  desired and the grounds in support                        Dated: June 4, 2012.
                                             extent necessary or desirable, exercise                   thereof. Any petition filed under this                  Richard Cordray,
                                             all powers which he or she could have                     section must be confined to new
                                                                                                                                                               Director, Bureau of Consumer Financial
                                             exercised if he or she had made the                       questions raised by the final decision or
                                                                                                                                                               Protection.
                                             recommended decision. In proceedings                      final order and upon which the
                                                                                                                                                               [FR Doc. 2012–14061 Filed 6–28–12; 8:45 am]
                                             before the Director, the record shall                     petitioner had no opportunity to argue,
                                                                                                                                                               BILLING CODE 4810–AM–P
                                             consist of all items part of the record                   in writing or orally, before the Director.
                                             below in accordance with § 1081.306;                      No response to a petition for
                                             any notices of appeal or order directing                  reconsideration shall be filed unless
                                                                                                                                                               BUREAU OF CONSUMER FINANCIAL
                                             review; all briefs, motions, submissions,                 requested by the Director, who will
                                                                                                                                                               PROTECTION
                                             and other papers filed on appeal or                       request such response before granting
                                             review; and the transcript of any oral                    any petition for reconsideration. The                   12 CFR Part 1080
                                             argument held. Review by the Director                     filing of a petition for reconsideration
                                                                                                       shall not operate to stay the effective                 [Docket No.: CFPB–2011–0007]
                                             of a recommended decision may be
                                             limited to the issues specified in the                    date of the final decision or order or to
                                                                                                                                                               RIN 3170–AA03
                                             notice(s) of appeal or the issues, if any,                toll the running of any statutory period
                                             specified in the order directing further                  affecting such decision or order unless                 Rules Relating to Investigations
                                             briefing. On notice to all parties,                       specifically so ordered by the Director.
                                                                                                                                                               AGENCY:  Bureau of Consumer Financial
                                             however, the Director may, at any time                    § 1081.407 Effective date; stays pending                Protection.
                                             prior to issuance of his or her decision,                 judicial review.
                                             raise and determine any other matters                                                                             ACTION: Final rule.
                                                                                                          (a) Other than consent orders, which
                                             that he or she deems material, with                       shall become effective at the time                      SUMMARY:  After considering the public
                                             opportunity for oral or written argument                  specified therein, an order to cease and                comments on its interim final rule for
                                             thereon by the parties.                                   desist or for other affirmative action                  the Rules Relating to Investigations, the
                                                (b) Decisional employees may advise                    under section 1053(b) of the Dodd-Frank                 Bureau of Consumer Financial
                                             and assist the Director in the                            Act becomes effective at the expiration                 Protection (Bureau), pursuant to the
                                             consideration and disposition of the                      of 30 days after the date of service                    Dodd-Frank Wall Street Reform and
                                             case.                                                     pursuant to § 1081.113(d)(2), unless the                Consumer Protection Act of 2010 (Dodd-
                                                (c) In rendering his or her decision,                  Director agrees to stay the effectiveness               Frank Act), is making revisions to its
                                             the Director will affirm, adopt, reverse,                 of the order pursuant to this section.                  procedures for investigations under
                                             modify, set aside, or remand for further                     (b) Any party subject to a final                     section 1052 of the Dodd-Frank Act.
                                             proceedings the recommended decision                      decision and order, other than a consent
                                                                                                                                                               DATES: The final rule is effective June
                                             and will include in the decision a                        order, may apply to the Director for a
                                                                                                                                                               29, 2012.
                                             statement of the reasons or basis for his                 stay of all or part of that order pending
                                                                                                       judicial review.                                        FOR FURTHER INFORMATION CONTACT:
                                             or her actions and the findings of fact                                                                           Peter G. Wilson, Office of the General
                                             upon which the decision is predicated.                       (c) A motion for stay shall state the
                                                                                                       reasons a stay is warranted and the facts               Counsel, Consumer Financial Protection
                                                (d) At the expiration of the time                      relied upon, and shall include                          Bureau, 1700 G Street NW., Washington,
                                             permitted for the filing of reply briefs                  supporting affidavits or other sworn                    DC 20552, (202) 435–7585.
                                             with the Director, the Office of                          statements, and a copy of the relevant                  SUPPLEMENTARY INFORMATION:
                                             Administrative Adjudication will notify                   portions of the record. The motion shall
                                             the parties that the case has been                                                                                I. Background
                                                                                                       address the likelihood of the movant’s
                                             submitted for final Bureau decision. The                  success on appeal, whether the movant                     The Dodd-Frank Wall Street Reform
                                             Director will issue and the Office of                     will suffer irreparable harm if a stay is               and Consumer Protection Act of 2010
                                             Administrative Adjudication will serve                    not granted, the degree of injury to other              (Dodd-Frank Act) was signed into law
                                             the Director’s final decision and order                   parties if a stay is granted, and why the               on July 21, 2010. Title X of the Dodd-
                                             within 90 days after such notice, unless                  stay is in the public interest.                         Frank Act established the Bureau of
                                             within that time the Director orders that                    (d) A motion for stay shall be filed                 Consumer Financial Protection (Bureau)
                                             the adjudication proceeding or any                        within 30 days of service of the order on               to regulate the offering and provision of
                                             aspect thereof be remanded to the                         the party. Any party opposing the                       consumer financial products or services
                                             hearing officer for further proceedings.                  motion may file a response within five                  under the Federal consumer financial
                                                (e) Copies of the final decision and                   days after receipt of the motion. The                   laws. The Dodd-Frank Act transferred to
                                             order of the Director shall be served                     movant may file a reply brief, limited to               the Bureau the consumer financial
                                             upon each party to the proceeding, upon                   new matters raised by the response,                     protection functions formerly carried
                                             other persons required by statute, and,                   within three days after receipt of the                  out by the Federal banking agencies, as
                                             if directed by the Director or required by                                                                        well as certain authorities formerly
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                                                                                                       response.
                                             statute, upon any appropriate State or                       (e) The commencement of                              carried out by the Department of
                                             Federal supervisory authority. The final                  proceedings for judicial review of a final              Housing and Urban Development (HUD)
                                             decision and order will also be                           decision and order of the Director does                 and the Federal Trade Commission
                                             published on the Bureau’s Web site or                     not, unless specifically ordered by the                 (FTC). As required by section 1062 of
                                             as otherwise deemed appropriate by the                    Director or a reviewing court, operate as               the Dodd-Frank Act, 12 U.S.C. 5582, the
                                             Bureau.                                                   a stay of any order issued by the                       Secretary of the Treasury selected a


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                                             designated transfer date and the Federal                demands may be enforced in district                    the real estate finance industry, and
                                             banking agencies’ functions and                         court by the Director, the General                     other financial institutions.
                                             authorities transferred to the Bureau on                Counsel, or the Assistant Director of the                 The commenters generally support
                                             July 21, 2011.                                          Office of Enforcement. The Final Rule                  the Interim Final Rule. Most sections of
                                                The Dodd-Frank Act authorizes the                    also details the authority of the Bureau’s             the Interim Final Rule received no
                                             Bureau to conduct investigations to                     investigators to conduct investigations                comment and are being finalized
                                             ascertain whether any person is or has                  and hold investigational hearings                      without change. The comments did,
                                             been engaged in conduct that, if proved,                pursuant to civil investigative demands                however, contain questions and
                                             would constitute a violation of any                     for oral testimony.                                    recommendations for the Bureau.
                                             provision of Federal consumer financial                   Furthermore, the Final Rule sets forth                  Several of the commenters expressed
                                             law. Section 1052 of the Dodd-Frank                     the rights of persons from whom the                    concern that the Interim Final Rule
                                             Act sets forth the parameters that govern               Bureau seeks to compel information in                  appeared to provide staff-level Bureau
                                             these investigations. 12 U.S.C. 5562.                   an investigation. Specifically, the Final              employees with unchecked authority to
                                             Section 1052 became effective                           Rule describes how such persons should                 initiate investigations and issue CIDs, or
                                             immediately upon transfer on July 21,                   be notified of the purpose of the                      that the Interim Final Rule otherwise
                                             2011 and did not require rules to                       Bureau’s investigation. It also details the            did not provide sufficient oversight for
                                             implement its provisions. On July 28,                   procedures for filing a petition for an                particular actions.
                                             2011, the Bureau issued the interim                     order modifying or setting aside a CID,                   A number of commenters expressed
                                             final rule for the Rules Relating to                    which the Director is authorized to rule               concern about sections of the Interim
                                             Investigations (Interim Final Rule) to                  upon. And it describes the process by                  Final Rule that relate to CIDs. One trade
                                             provide parties involved in Bureau                      which persons may obtain copies of or                  association recommended that a
                                             investigations with clarification on how                access to documents or testimony they                  statement of ‘‘the purpose and scope’’ of
                                             to comply with the statutory                            have provided in response to a civil                   a Bureau investigation—in addition to a
                                             requirements relating to Bureau                         investigative demand. In addition, the                 notification of the nature of the conduct
                                             investigations.                                         Final Rule describes a person’s right to               constituting the alleged violation under
                                                                                                     counsel at investigational hearings.                   investigation and the applicable
                                             II. Summary of the Final Rule                                                                                  provisions of law—be included in CIDs.
                                                Consistent with section 1052 of the                  III. Legal Authority                                   A commenter suggested that the Bureau
                                             Dodd-Frank Act, the final rule for the                     As noted above, section 1052 of the                 require a conference between CID
                                             Rules Relating to Investigations (Final                 Dodd-Frank Act outlines how the                        recipients and the Assistant Director of
                                             Rule) describes a number of Bureau                      Bureau will conduct investigations and                 the Office of Enforcement to negotiate
                                             policies and procedures that apply in an                describes the rights of persons from                   the terms of compliance with the
                                             investigational, nonadjudicative setting.               whom the Bureau seeks information in                   demand. Three of the trade associations
                                             Among other things, the Final Rule sets                 investigations. This section became                    noted concern with the statement that
                                             forth (1) the Bureau’s authority to                     effective immediately upon the                         extensions of time are disfavored for
                                             conduct investigations, and (2) the                     designated transfer date, July 21, 2011,               petitions to modify or set aside CIDs.
                                             rights of persons from whom the Bureau                  without any requirement that the                       Two commenters questioned who
                                             seeks to compel information in                          Bureau first issue procedural rules.                   would rule on such petitions without a
                                             investigations.                                         Nevertheless, the Bureau believes that                 confirmed Director. One trade
                                                Like the Interim Final Rule, the Final               the legislative purpose of section 1052                association commented that witnesses
                                             Rule is modeled on investigative                        will be furthered by the issuance of                   should be permitted to object to
                                             procedures of other law enforcement                     rules that specify the manner in which                 questions demanding information
                                             agencies. For guidance, the Bureau                      persons can comply with its provisions.                outside of the scope of the investigation
                                             reviewed the procedures currently used                     Section 1022 of the Dodd-Frank Act                  during an investigational hearing
                                             by the FTC, the Securities and Exchange                 authorizes the Director to prescribe                   pursuant to a CID for oral testimony.
                                             Commission (SEC), and the prudential                    rules as may be necessary or appropriate                  A number of commenters expressed
                                             regulators, as well as the FTC’s recently               for the Bureau to administer and carry                 concern about maintaining the
                                             proposed amendments to its                              out the purposes and objectives of                     confidentiality of demand material,
                                             nonadjudicative procedures. In light of                 Federal consumer financial laws and to                 sharing information with other State
                                             the similarities between section 1052 of                prevent evasion of those laws. 12 U.S.C.               and Federal agencies, and the duties of
                                             the Dodd-Frank Act and section 20 of                    5512. The Bureau believes that the Final               the custodians of those materials. For
                                             the Federal Trade Commission Act (FTC                   Rule will effectuate the purpose of                    example, one trade association and the
                                             Act), 15 U.S.C. 41 et seq., the Bureau                  section 1052 and facilitate compliance                 mortgage company recommended that
                                             drew most heavily from the FTC’s                        with Bureau investigations.                            investigations should remain
                                             nonadjudicative procedures in                                                                                  confidential in all circumstances.
                                             constructing the rules.                                 IV. Overview of Public Comments on                     Another trade association asserted that
                                                The Final Rule lays out the Bureau’s                 the Interim Final Rule                                 the Bureau is not permitted to engage in
                                             authority to conduct investigations                       After publication of the Interim Final               joint investigations with State attorneys
                                             before instituting judicial or                          Rule on July 28, 2011, the Bureau                      general.
                                             administrative adjudicatory proceedings                 accepted public comments until                            The Bureau reviewed all of the
                                             under Federal consumer financial law.                   September 26, 2011. During the                         comments on its Interim Final Rule
                                             The Final Rule authorizes the Director,                 comment period, the Bureau received                    thoroughly and addresses the significant
                                             the Assistant Director of the Office of                 seven comments. Two of the comments                    issues they raise herein. Although most
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                                             Enforcement, and the Deputy Assistant                   were submitted by individual                           sections of the Interim Final Rule
                                             Directors of the Office of Enforcement to               consumers. Four trade associations and                 received no comment and are being
                                             issue civil investigative demands (CIDs)                a mortgage company also submitted                      finalized without change, the Bureau
                                             for documentary material, tangible                      comments. The trade associations                       has made several changes to the Interim
                                             things, written reports, answers to                     represent credit unions, banks,                        Final Rule based on the comments it
                                             questions, or oral testimony. The                       consumer credit companies, members of                  received. The comments and these


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                                             changes are discussed in more detail in                    A commenter recommended that                        interest. Section 1080.3 is consistent
                                             parts V and VI of the SUPPLEMENTARY                     covered persons be allowed to recover                  with the Bureau’s mission to protect
                                             INFORMATION.                                            attorneys’ fees and costs incurred by                  consumers by investigating potential
                                                                                                     defending against an investigation that                violations of Federal consumer financial
                                             V. General Comments
                                                                                                     is shown to be without merit. The Dodd-                law. The Bureau received no comments
                                                Some comments on the Interim Final                   Frank Act does not provide the right to                on § 1080.3 of the Interim Final Rule
                                             Rule were not directed at a specific                    recover fees and costs by defending                    and is adopting it as the Final Rule
                                             section but rather concerned issues of                  against an investigation. Further, as                  without change.
                                             general applicability. The Bureau                       explained below, the Bureau believes
                                             addresses those comments in this                                                                               Section 1080.4 Initiating and
                                                                                                     that the procedures for petitioning to                 Conducting Investigations
                                             section and addresses comments related                  modify or set aside a CID set forth in
                                             to specific sections of the Interim Final               § 1080.6(d) of the Interim Final Rule                     This section of the Interim Final Rule
                                             Rule in part VI.                                        (now 1080.6(e) of the Final Rule)                      explains that Bureau investigators are
                                                One commenter asked the Bureau to                    provide sufficient protections to a                    authorized to conduct investigations
                                             specify who would rule on petitions to                  recipient of a demand it believes lacks                pursuant to section 1052 of the Dodd-
                                             set aside or modify CIDs while the                      merit.                                                 Frank Act.
                                             Bureau lacked a Director. This                                                                                    A commenter observed that this
                                             commenter also asked who would                          VI. Section-by-Section Summary                         section of the Interim Final Rule did not
                                             review requests to the Attorney General                 Section 1080.1        Scope                            explicitly provide a procedure for senior
                                             under § 1080.12 for authority to                                                                               agency officials to authorize the opening
                                             immunize witnesses and to order them                      This section describes the scope of the              of an investigation. The commenter
                                             to testify or provide other information.                Interim Final Rule. It makes clear that                argued that only senior agency officials
                                             The President appointed a Director of                   these rules only apply to investigations               should decide whether to initiate
                                             the Bureau on January 4, 2012.                          under section 1052 of the Dodd-Frank                   investigations. The commenter
                                             Therefore, both questions posed by this                 Act. The Bureau received no comment                    questioned whether staff-level
                                             commenter are moot. The Director or                     on § 1080.1 of the Interim Final Rule                  employees could open investigations
                                             any official to whom the Director has                   and is adopting it as the Final Rule                   and issue CIDs without sufficient
                                             delegated his authority pursuant to 12                  without change.                                        supervision, and noted that the FTC’s
                                             U.S.C. 5492(b) will rule on petitions to                Section 1080.2        Definitions                      analogous rule specifically lists the
                                             set aside or modify CIDs. Furthermore,                                                                         senior officials to whom the
                                             the Bureau has revised § 1080.12 to                        This section of the Interim Final Rule              Commission has delegated, without
                                             clarify that only the Director has the                  defines several terms used throughout                  power of redelegation, the authority to
                                             authority to request approval from the                  the rules. Many of these definitions also              initiate investigations.
                                             Attorney General for the issuance of an                 may be found in section 1051 of the                       A commenter also expressed concern
                                             order immunizing witnesses.                             Dodd-Frank Act.                                        that the FTC’s analogous rule explicitly
                                                A commenter asserted that section                       A commenter questioned the breadth                  provides that FTC investigators must
                                             1052(c)(1) of the Dodd-Frank Act                        of the definition of the term ‘‘Assistant              comply with the laws of the United
                                             prohibits the Bureau from issuing CIDs                  Director of the Division of                            States and FTC regulations. According
                                             after the institution of any proceedings                Enforcement.’’ The commenter argued                    to the commenter, such language is
                                             under Federal consumer financial laws,                  that because that term was defined to                  necessary to ensure that the Bureau
                                             including proceedings initiated by a                    include ‘‘any Bureau employee to whom                  complies with the Right to Financial
                                             State or a private party. The commenter                 the Assistant Director of the Division of              Privacy Act (RFPA) to the extent that
                                             argued that a CID should be                             Enforcement has delegated authority to                 statute applies to the Bureau. The
                                             accompanied by a certification that the                 act under this part,’’ the Interim Final               commenter also believes that this
                                             demand will have no bearing on any                      Rule could give Bureau employees                       language is needed to guard against
                                             ongoing proceeding. Section 1052(c)(1)                  inappropriately broad authority to take                investigations undertaken for what the
                                             provides, in relevant part, that ‘‘the                  certain actions, such as issuing CIDs.                 commenter characterized as the
                                             Bureau may, before the institution of                      The Bureau has revised the Final Rule               impermissible purpose of aiding State
                                             any proceedings under the Federal                       in response to these comments. The                     attorneys general or State regulators.
                                             consumer financial law, issue in                        Final Rule identifies those with                       The commenter suggested that the
                                             writing, and cause to be served upon                    authority to take particular actions                   Bureau add a statement to this section
                                             such person, a civil investigative                      under each section of the Final Rule.                  of the Interim Final Rule similar to the
                                             demand.’’ The language ‘‘before the                     Sections 1080.4 (initiating and                        FTC’s rule requiring compliance with
                                             institution of any proceeding under                     conducting investigations) and 1080.6                  Federal law and agency regulations.
                                             Federal consumer financial law’’ refers                 (civil investigative demands) of the                      The Final Rule clarifies that only the
                                             to the institution of proceedings by the                Final Rule clarify that the authority to               Assistant Director or any Deputy
                                             Bureau. It does not limit the Bureau’s                  initiate investigations and issue CIDs                 Assistant Director of the Office of
                                             authority to issue CIDs based upon the                  cannot be delegated by the identified                  Enforcement has the authority to initiate
                                             commencement of a proceeding by other                   officials. The Final Rule also changes                 investigations. The Bureau has
                                             parties.                                                the defined term ‘‘Division of                         significant discretion to determine
                                                Another commenter requested that                     Enforcement’’ to ‘‘Office of                           whether and when to open an
                                             the Bureau exempt all credit unions                     Enforcement’’ to reflect the Bureau’s                  investigation, and the public benefits
                                             from Bureau investigations. The Bureau                                                                         from a process whereby the Bureau can
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                                                                                                     current organizational structure.
                                             believes that granting an exemption                                                                            open and close investigations
                                             from the Bureau’s enforcement authority                 Section 1080.3        Policy as to Private             efficiently. But the Bureau did not
                                             through the Final Rule would be                         Controversies                                          intend its rules to be interpreted so
                                             inappropriate and that there is an                        This section of the Interim Final Rule               broadly as to suggest that any staff-level
                                             insufficient record to support such an                  states the Bureau’s policy of pursuing                 employee could unilaterally open an
                                             exemption.                                              investigations that are in the public                  investigation or issue a CID. The Final


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                                             Rule also provides that Bureau                          CIDs. In addition, to the extent                       the scope of requests, issues related to
                                             investigators will perform their duties in              recipients of CIDs consider the demands                electronically stored information (ESI),
                                             accordance with Federal law and                         to be for an unauthorized purpose or                   issues related to privilege and
                                             Bureau regulations.                                     outside the scope of the investigation,                confidential information, and a
                                                                                                     they will have an opportunity to                       reasonable time for compliance. The
                                             Section 1080.5 Notification of Purpose
                                                                                                     negotiate the terms of compliance                      commenter stated that this type of
                                                This section of the Interim Final Rule               pursuant to § 1080.6(c) of the Interim                 conference would better ensure prompt
                                             specifies that a person compelled to                    Final Rule (now § 1080.6(d) of the Final               and efficient production of material and
                                             provide information to the Bureau or to                 Rule) or to petition to set aside or                   information related to the investigation.
                                             testify in an investigational hearing                   modify the demand pursuant to                             The Bureau agrees that a conference
                                             must be advised of the nature of the                    § 1080.6(d) of the Interim Final Rule                  between the parties within ten calendar
                                             conduct constituting the alleged                        (now § 1080.6(e) of the Final Rule).                   days of serving a CID is likely to
                                             violation under investigation and the                     The Bureau therefore adopts this                     improve the efficiency of investigations,
                                             applicable provisions of law. This                      section of the Interim Final Rule as the               and § 1080.6(c) of the Final Rule
                                             section of the Interim Final Rule                       Final Rule without change.                             provides for such a conference. The
                                             implements the requirements for CIDs                                                                           Final Rule does not, however, adopt the
                                             described in section 1052(c)(2) of the                  Section 1080.6 Civil Investigative
                                                                                                                                                            suggestion that the Assistant Director of
                                             Dodd-Frank Act.                                         Demands
                                                                                                                                                            the Office of Enforcement preside over
                                                Commenters noted that although the                      This section of the Interim Final Rule              all such conferences.
                                             Dodd-Frank Act and the FTC Act both                     lays out the Bureau’s procedures for                      Several commenters also noted
                                             require CIDs to state ‘‘the nature of the               issuing CIDs. It authorizes the Assistant              concern with the statement in
                                             conduct constituting the alleged                        Director of the Office of Enforcement to               § 1080.6(d) of the Interim Final Rule
                                             violation which is under investigation                  issue CIDs for documentary material,                   disfavoring extensions of time for
                                             and the provision of law applicable to                  tangible things, written reports, answers              petitioning for an order modifying or
                                             such violation,’’ the two agencies’                     to questions, and oral testimony. This                 setting aside CIDs. One commenter
                                             implementing regulations on this topic                  section of the Interim Final Rule details              argued that the 20-day period to file
                                             differ. Both agencies’ regulations require              the information that must be included                  petitions, for which extensions of time
                                             a statement of the nature of the conduct                in CIDs and the requirement that                       are disfavored, is inconsistent with the
                                             at issue and the relevant provisions of                 responses be made under a sworn                        ‘‘reasonable’’ period of time for
                                             law, but the FTC rule also requires that                certificate. Section 1080.6 of the Interim             compliance with the CID set forth in
                                             the recipient of the CID be advised of                  Final Rule also authorizes the Assistant               § 1080.6(a). The commenter also argued
                                             ‘‘the purpose and scope’’ of the                        Director of the Office of Enforcement to               that this timeframe leaves a short period
                                             investigation. Commenters argued that                   negotiate and approve the terms of                     for the CID recipient to decide which
                                             the Bureau should add this phrase to its                compliance with CIDs and grant                         documents are privileged or otherwise
                                             rule because excluding it would lead to                 extensions for good cause. Finally, this               protected and to file a petition
                                             requests for materials outside the scope                section of the Interim Final Rule                      articulating privilege and scope
                                             of an investigation. One commenter                      describes the procedures for seeking an                objections. Another commenter noted
                                             argued that only senior agency officials                order to modify or set aside a CID,                    that the analogous FTC rules do not
                                             should authorize investigations to                      which the Director is authorized to rule               include a provision disfavoring
                                             ensure that CIDs are relevant to the                    upon.                                                  extensions for petitions to modify or set
                                             purpose and scope of the Bureau’s                          One commenter argued that                           aside a CID. These commenters
                                             investigations.                                         § 1080.6(a) permits almost any Bureau                  recommended that the Bureau delete the
                                                The language in § 1080.5 of the                      employee to issue CIDs without                         sentence related to disfavoring
                                             Interim Final Rule mirrors the language                 sufficient supervision. The commenter                  extensions. One commenter
                                             of the Dodd-Frank Act, which provides                   stated that this lack of oversight is                  recommended that the rules be
                                             that ‘‘[e]ach civil investigative demand                problematic and does not reflect                       corrected to provide an independent
                                             shall state the nature of the conduct                   Congress’ intent when it enacted the                   review if a covered person believes a
                                             constituting the alleged violation which                Act.                                                   CID is without merit.
                                             is under investigation and the provision                   Section 1080.6(a) of the Final Rule                    Like the Interim Final Rule, the Final
                                             of law applicable to such violation.’’                  limits the authority to issue CIDs to the              Rule includes a provision disfavoring
                                             The Bureau believes that the                            Director, the Assistant Director of the                extensions of time for petitions to
                                             information covered by this statutory                   Office of Enforcement, and the Deputy                  modify or set aside a CID. The Bureau
                                             language provides sufficient notice to                  Assistant Directors of the Office of                   believes its policy of disfavoring
                                             recipients of CIDs. As discussed above,                 Enforcement. This change to the Final                  extensions is appropriate in light of its
                                             § 1080.4 (initiating and conducting                     Rule balances the efficiency of the                    significant interest in promoting an
                                             investigations) of the Final Rule limits                Bureau’s investigative process with                    efficient process for seeking materials
                                             the authority to open investigations to                 appropriate supervision and oversight.                 through CIDs. By disfavoring
                                             the Assistant Director or any Deputy                       A commenter suggested that the                      extensions, the Bureau means to prompt
                                             Assistant Director of the Office of                     Bureau require a conference between                    recipients to decide within 20 days
                                             Enforcement. Similarly, § 1080.6 of the                 the CID recipient and the Assistant                    whether they intend to comply with the
                                             Final Rule (civil investigative demands)                Director of the Office of Enforcement                  CID. The Final Rule also clarifies that
                                             limits the authority to issue CIDs to the               within ten days of service of the CID to               this 20-day period should be computed
                                             Director of the Bureau, the Assistant                   negotiate and approve the terms of
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                                                                                                                                                            with calendar days.
                                             Director of the Office of Enforcement,                  compliance. The commenter envisioned                      The Bureau notes that § 1080.6(d) of
                                             and the Deputy Assistant Directors of                   a conference analogous to a discovery                  the Interim Final Rule (now § 1080.6(e)
                                             the Office of Enforcement. Thus, one of                 planning conference under the Federal                  of the Final Rule) only provides the due
                                             these identified officials will review and              Rules of Civil Procedure, during which                 date for a petition for an order
                                             approve the initiation of all                           the parties could discuss requests for                 modifying or setting aside a CID. It does
                                             investigations and the issuance of all                  information, appropriate limitations on                not require recipients to comply fully


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                                             with CIDs within 20 days. In addition,                  transcript is provided to the designated               responsive to a CID. It requires the
                                             the Final Rule provides several options                 custodian.                                             recipient of the CID to assert a privilege
                                             to recipients of CIDs that need                            A commenter argued that the Bureau                  by the production date and, if so
                                             additional time to respond. For                         is not authorized to conduct joint                     directed in the CID, also to submit a
                                             example, the recipient may negotiate for                investigations with State attorneys                    detailed schedule of the items withheld.
                                             a reasonable extension of time for                      general under the Dodd-Frank Act and,                  Section 1080.8 also sets forth the
                                             compliance or a rolling document                        correspondingly, State attorneys general               procedures for handling the disclosure
                                             production schedule pursuant to                         cannot attend an investigational hearing               of privileged or protected information or
                                             § 1080.6(c) of the Interim Final Rule                   as a representative of an agency with                  communications.
                                             (now § 1080.6(d) of the Final Rule).                    whom the Bureau is conducting a joint                     The Bureau received no comment on
                                                Section 1080.6(e) of the Final Rule                  investigation. The commenter argued                    § 1080.8 of the Interim Final Rule and
                                             clarifies that recipients of CIDs should                that Congress distinguished between                    is adopting it as the Final Rule without
                                             not assert claims of privilege through a                State attorneys general and State                      substantive change.
                                             petition for an order modifying or                      regulatory agencies in section 1042 of
                                                                                                                                                            Section 1080.9 Rights of Witnesses in
                                             setting aside a CID. Instead, when                      the Dodd-Frank Act and that State
                                                                                                                                                            Investigations
                                             privilege is the only basis for                         attorneys general are therefore not
                                                                                                     ‘‘agencies’’ with whom the Bureau can                     This section of the Interim Final Rule
                                             withholding particular materials, they
                                                                                                     partner. The commenter also asserted                   describes the rights of persons
                                             should utilize the procedures set forth
                                                                                                     that the Bureau cannot share a copy of                 compelled to submit information or
                                             in § 1080.8 (withholding requested
                                                                                                     the transcript of an investigational                   provide testimony in an investigation. It
                                             material) of the Final Rule. Section
                                                                                                     hearing with another agency without the                details the procedures for obtaining a
                                             1080.6(e) of the Final Rule also lays out                                                                      copy of submitted documents or a copy
                                             the authority of Bureau investigators to                consent of the witness.
                                                                                                        Another commenter argued that                       of or access to a transcript of the
                                             provide to the Director a reply to a                                                                           person’s testimony. This section of the
                                                                                                     representatives of agencies with which
                                             petition seeking an order modifying or                                                                         Interim Final Rule also describes a
                                                                                                     the Bureau is conducting a joint
                                             setting aside a CID. Specifically, the                                                                         witness’s right to make changes to his or
                                                                                                     investigation may be present at an
                                             Final Rule states that Bureau                                                                                  her transcript and the rules for signing
                                                                                                     investigational hearing only with the
                                             investigators may provide the Director                                                                         the transcript.
                                                                                                     witness’s consent. This commenter
                                             with a statement setting forth any                                                                                Section 1080.9 of the Interim Final
                                                                                                     stated that the Bureau should recognize
                                             factual and legal responses to a petition.                                                                     Rule lays out a person’s right to counsel
                                                                                                     in the rules that a witness who does not
                                             The Bureau will not make these                                                                                 at an investigational hearing and
                                                                                                     consent to the presence of a
                                             statements or any other internal                                                                               describes his or her counsel’s right to
                                                                                                     representative of another agency at an
                                             deliberations part of the Bureau’s public                                                                      advise the witness as to any question
                                                                                                     investigational hearing should not be
                                             records. Section 1080.6(g) of the Final                                                                        posed for which an objection may
                                                                                                     presumed guilty.
                                             Rule clarifies that the Bureau, however,                   The Dodd-Frank Act states that the                  properly be made. It also describes the
                                             will make publicly available both the                   Bureau ‘‘may engage in joint                           witness’s or counsel’s rights to object to
                                             petition and the Director’s order in                    investigations and requests for                        questions or requests that the witness is
                                             response. Section 1080.6(g) of the Final                information, as authorized under this                  privileged to refuse to answer. This
                                             Rule also clarifies that if a CID recipient             title.’’ This statutory language permits               section of the Interim Final Rule states
                                             wants to prevent the Director from                      the Bureau to engage in joint                          that counsel for the witness may not
                                             making the petition public, any showing                 investigations with State or Federal law               otherwise object to questions or
                                             of good cause must be made no later                     enforcement agencies, including State                  interrupt the examination to make
                                             than the time the petition is filed. The                attorneys general, with jurisdiction that              statements on the record but may
                                             Final Rule also adds a provision                        overlaps with the Bureau’s. The                        request that the witness have an
                                             clarifying how the Bureau will serve the                Bureau’s disclosure rules also permit                  opportunity to clarify any of his or her
                                             petitioner with the Director’s order.                   the Bureau to share certain confidential               answers. Finally, this section of the
                                                Finally, the Bureau believes the                     information, including investigational                 Interim Final Rule authorizes the
                                             procedures for petitions to modify or set               hearing transcripts, with Federal or                   Bureau investigator to take all necessary
                                             aside a CID set forth in the Final Rule                 State agencies to the extent the                       action during the course of the hearing
                                             adequately protect a covered person                     disclosure is relevant to the exercise of              to avoid delay and to prevent or restrain
                                             who believes a CID is without merit,                    an agency’s statutory or regulatory                    disorderly, dilatory, obstructionist, or
                                             and that an additional independent                      authority. See 12 CFR 1070.43(b). In                   contumacious conduct, or
                                             review is unnecessary.                                  addition, neither the Dodd-Frank Act                   contemptuous language.
                                                                                                     nor the rules require the consent of the                  A commenter noted that under the
                                             Section 1080.7       Investigational
                                                                                                     witness to permit a representative of an               Interim Final Rule witnesses could not
                                             Hearings
                                                                                                     agency with which the Bureau is                        object during an investigational hearing
                                                This section of the Interim Final Rule               conducting a joint investigation to be                 on the ground that a question was
                                             describes the procedures for                            present at the hearing. Consent is                     outside the scope of the investigation.
                                             investigational hearings initiated                      required only when people other than                   The commenter argued that a covered
                                             pursuant to a CID for oral testimony. It                those listed in the rule are included.                 person’s inability to raise such
                                             also lays out the roles and                                Thus, the Bureau adopts § 1080.7 of                 objections might allow ‘‘a fishing
                                             responsibilities of the Bureau                          the Interim Final Rule as the Final Rule               expedition.’’ The commenter
                                             investigator conducting the
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                                                                                                     without change.                                        recommended amending § 1080.9(b) to
                                             investigational hearing, which include                                                                         allow objections based on scope.
                                             excluding unauthorized persons from                     Section 1080.8 Withholding Requested                      Section 1052(c)(13)(D)(iii) of the
                                             the hearing room and ensuring that the                  Material                                               Dodd-Frank Act states, in relevant part:
                                             investigational hearing is transcribed,                   This section of the Interim Final Rule                  [a]n objection may properly be made,
                                             the witness is duly sworn, the transcript               describes the procedures that apply                    received, and entered upon the record when
                                             is a true record of the testimony, and the              when persons withhold material                         it is claimed that such person is entitled to



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                                             refuse to answer the question on grounds of             also authorizes the Assistant Director of              under 18 U.S.C. 6004 and requiring a
                                             any constitutional or other legal right or              the Office of Enforcement to close the                 witness to testify or provide
                                             privilege, including the privilege against self-        investigation when the facts of an                     information. The commenter noted that
                                             incrimination, but the person shall not
                                                                                                     investigation indicate an enforcement                  the Dodd-Frank Act authorizes the
                                             otherwise object to or refuse to answer any
                                             question, and such person or attorney shall             action is not necessary or warranted in                Bureau, with the Attorney General’s
                                             not otherwise interrupt the oral examination.           the public interest.                                   permission, to compel a witness to
                                                                                                        One commenter indicated that the                    testify under 18 U.S.C. 6004 if the
                                             Thus, to the extent the scope objection                 Bureau’s authority to refer                            witness invokes his or her privilege
                                             was grounded in a witness’s                             investigations to other law enforcement                against self-incrimination. The
                                             constitutional or other legal right, it                 agencies should be limited to                          commenter argued that this section
                                             would be a proper objection.                            circumstances when it is expressly                     should delegate the authority to seek
                                               The Final Rule clarifies that counsel                 authorized to do so by the Dodd-Frank                  permission to compel testimony to a
                                             may confer with a witness while a                       Act, an enumerated consumer financial                  specific individual to provide
                                             question is pending or instruct a witness               law, or other Federal law, because of                  accountability and ensure that
                                             not to answer a question only if an                     potential risks to the confidentiality of              information is not disclosed to the
                                             objection based on privilege or work                    the investigatory files.                               Attorney General in a manner that
                                             product may properly be made. The                          The Bureau’s ability to refer matters to            violates the Right to Financial Privacy
                                             Final Rule also describes counsel’s                     appropriate law enforcement agencies is                Act. The commenter noted that the
                                             limited ability to make additional                      inherent in the Bureau’s authority and                 FTC’s analogous rule specifically lists
                                             objections based on other constitutional                is a corollary to the Bureau’s statutorily             the senior agency officials who are
                                             or legal rights. The Final Rule provides                recognized ability to conduct joint                    authorized to make such requests to the
                                             that if an attorney has refused to comply               investigations. The documentary                        Attorney General, and identifies a
                                             with his or her obligations in the rules                materials and tangible things obtained                 liaison officer through whom such
                                             of this part, or has allegedly engaged in               by the Bureau pursuant to a CID are                    requests must be made. The commenter
                                             disorderly, dilatory, obstructionist, or                subject to the requirements and                        also suggested that § 1080.12(b) of the
                                             contumacious conduct, or                                procedures relating to disclosure of                   Interim Final Rule, which provides that
                                             contemptuous language during an                         records and information in part 1070 of                the Assistant Director’s exercise of this
                                             investigational hearing, the Bureau may                 this title. These procedures for sharing               authority is subject to review by ‘‘the
                                             take further action, including action to                information with law enforcement                       Bureau,’’ specify who will conduct this
                                             suspend or disbar the attorney from                     agencies provide significant and                       review.
                                             further participation in the investigation              sufficient protections for these                          The Final Rule provides that only the
                                             or further practice before the Bureau                   materials.                                             Director of the Bureau has the authority
                                             pursuant to 12 CFR 1081.107(c). The                        The Bureau has amended § 1080.11 to                 to request approval from the Attorney
                                             Final Rule also includes other                          clarify that the Assistant Director and                General for the issuance of an order
                                             nonsubstantive changes, including                       any Deputy Assistant Director of the                   requiring a witness to testify or provide
                                             clarifying that the 30-day period that the              Office of Enforcement are authorized to                other information and granting
                                             witness has to sign and submit his or                   close investigations.                                  immunity under 18 U.S.C. 6004. This
                                             her transcript should be computed using                    The Bureau adopts § 1080.11 of the                  change addresses the concern that
                                             calendar days.                                          Interim Final Rule with the changes                    requests for witness immunity would be
                                                                                                     discussed above.                                       made without oversight. Limiting this
                                             Section 1080.10 Noncompliance With                                                                             authority to the Director provides
                                             Civil Investigative Demands                             Section 1080.12 Orders Requiring
                                                                                                     Witnesses To Testify or Provide Other                  sufficient accountability.
                                                This section of the Interim Final Rule
                                                                                                     Information and Granting Immunity                      Section 1080.13 Custodians
                                             authorizes the Director, the Assistant
                                             Director of the Office of Enforcement,                     This section of the Interim Final Rule                This section of the Interim Final Rule
                                             and the General Counsel to initiate an                  authorizes the Assistant Director of the               describes the procedures for designating
                                             action to enforce a CID in connection                   Office of Enforcement to request                       a custodian and deputy custodian for
                                             with the failure or refusal of a person to              approval from the Attorney General for                 material produced pursuant to a CID in
                                             comply with, or to obey, a CID. In                      the issuance of an order requiring a                   an investigation. It also states that these
                                             addition, they are authorized to seek                   witness to testify or provide other                    materials are for the official use of the
                                             civil contempt or other appropriate                     information and granting immunity                      Bureau, but, upon notice to the
                                             relief in cases where a court order                     under 18 U.S.C. 6004. The Interim Final                custodian, must be made available for
                                             enforcing a CID has been violated.                      Rule also sets forth the Bureau’s right to             examination during regular office hours
                                                The Bureau received no comment on                    review the exercise of these functions                 by the person who produced them.
                                             § 1080.10 of the Interim Final Rule and                 and states that the Bureau will entertain                A commenter suggested that the
                                             is adopting it as the Final Rule without                an appeal from an order requiring a                    Bureau should detail the particular
                                             substantive change.                                     witness to testify or provide other                    duties of custodians designated under
                                                                                                     information only upon a showing that a                 this section and that, without an
                                             Section 1080.11 Disposition                             substantial question is involved, the                  enumerated list of duties, the custodian
                                               This section of the Interim Final Rule                determination of which is essential to                 would not have any responsibilities
                                             explains that an enforcement action may                 serve the interests of justice. Finally,               regarding CID materials. The commenter
                                             be instituted in Federal or State court or              this section of the Interim Final Rule                 noted that the FTC Act requires the
                                             through administrative proceedings                                                                             custodian to take specific actions, while
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                                                                                                     describes the applicable rules and time
                                             when warranted by the facts disclosed                   limits for such appeals.                               the Dodd-Frank Act does not. The
                                             by an investigation. It further provides                   A commenter questioned whether this                 commenter suggested specifying a series
                                             that the Bureau may refer investigations                section of the Interim Final Rule would                of custodial duties, including (1) taking
                                             to appropriate Federal, State, or foreign               permit any Bureau employee to request                  and maintaining custody of all materials
                                             government agencies as appropriate.                     that the Attorney General approve the                  submitted pursuant to CIDs or
                                             This section of the Interim Final Rule                  issuance of an order granting immunity                 subpoenas that the Bureau issues,


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                                             including transcripts of oral testimony                 potential reputation risk to an entity if                  The Final Rule imposes certain
                                             taken by the Bureau; (2) maintaining                    an investigation is disclosed to the                     obligations on covered persons who
                                             confidentiality of those materials as                   public. In addition, the commenter                       receive CIDs in Bureau investigations.
                                             required by applicable law; (3)                         argued that failing to conduct                           Specifically, as described above, the
                                             providing the materials to either House                 investigations confidentially will                       Final Rule sets forth the process for
                                             of Congress upon request, after ten days                increase litigation risk. One commenter                  complying with or objecting to CIDs for
                                             notice to the party that owns or                        recommended that the Bureau issue a                      documentary material, tangible things,
                                             submitted the materials; (4) producing                  public absolution of a company if the                    written reports or answers to questions,
                                             any materials as required by a court of                 Bureau does not maintain the                             and oral testimony. Most obligations in
                                             competent jurisdiction; and (5)                         confidentiality of an investigation.                     the Final Rule stem from express
                                             complying at all times with the Trade                     Section 1080.14 of the Interim Final                   language in the Dodd-Frank Act and do
                                             Secrets Act.                                            Rule provides that investigations                        not impose additional burdens on
                                                Section 1052 of the Dodd-Frank Act                   generally will not be disclosed to the                   covered persons.
                                             sets forth the duties of the Bureau’s                   public, but permits Bureau investigators                   To the extent that the Final Rule
                                             custodian. Sections 1052(c)(3) through                  to disclose the existence of an                          includes provisions not expressly
                                             (c)(6) of the Dodd-Frank Act give the                   investigation when necessary to                          required by statute, these provisions
                                             custodian responsibility for receiving                  advance the investigation. The Interim                   benefit covered persons by providing
                                             documentary material, tangible things,                  Final Rule does not contemplate                          clarity and certainty. In addition, the
                                             written reports, answers to questions,                  publicizing an investigation, but rather                 Final Rule vests the Bureau with
                                             and transcripts of oral testimony given                 disclosing the existence of the                          discretion to modify CIDs or extend the
                                             by any person in compliance with any                    investigation to, for example, a potential               time for compliance for good cause.
                                             CID. Section 1052(d) of the Dodd-Frank                  witness or third party with potentially                  This flexibility benefits covered persons
                                             Act, as well as the Bureau’s Rules for                  relevant information when doing so is                    by enabling the Bureau to assess the cost
                                             Disclosure of Records and Information                   necessary to advance the investigation.                  of compliance with a civil investigative
                                             in part 1070 of this title, outline the                 This limited exception sufficiently                      demand in a particular circumstance
                                             requirements for the confidential                       balances the concerns expressed by the                   and take appropriate steps to mitigate
                                             treatment of demand material. Section                   commenter with the Bureau’s need to                      any unreasonable compliance burden.
                                             1052(g) addresses custodial control and                 obtain information efficiently.                            Moreover, because the Final Rule is
                                             provides that a person may file, in the                   Thus, the Bureau adopts § 1080.14 of                   largely based on section 20 of the FTC
                                             district court of the United States for the             the Interim Final Rule as the Final Rule                 Act and its corresponding regulations, it
                                             judicial district within which the office               without change.                                          should present an existing, stable model
                                             of the custodian is situated, a petition                                                                         of investigatory procedures to covered
                                                                                                     VII. Section 1022(b)(2) Provisions
                                             for an order of such court requiring the                                                                         persons. This likely familiarity to
                                             performance by the custodian of any                        In developing the Final Rule, the                     covered persons should further reduce
                                             duty imposed upon him by section 1052                   Bureau has considered the potential                      the compliance costs for covered
                                             of the Dodd-Frank Act or by Bureau                      benefits, costs, and impacts, and has                    persons.
                                             rule. These duties and obligations do                   consulted or offered to consult with the                   The Final Rule provides that requests
                                             not require additional clarification by                 prudential regulators, HUD, the SEC, the                 for extensions of time to file petitions to
                                             rule.                                                   Department of Justice, and the FTC,                      modify or set aside CIDs are disfavored.
                                                The Final Rule clarifies that the                    including with regard to consistency                     This may impose a burden on covered
                                             custodian has the powers and duties of                  with any prudential, market, or systemic                 entities in some cases, but it may also
                                             both section 1052 of the Dodd-Frank Act                 objectives administered by such                          lead to a more expeditious resolution of
                                             and 12 CFR 1070.3.                                      agencies.1                                               matters, reducing uncertainty.
                                                The Bureau adopts § 1080.13 of the                      The Final Rule neither imposes any                    Furthermore, the Final Rule has no
                                             Interim Final Rule with the changes                     obligations on consumers nor is                          unique impact on insured depository
                                             discussed above.                                        expected to have any appreciable                         institutions or insured credit unions
                                                                                                     impact on their access to consumer                       with less than $10 billion in assets as
                                             Section 1080.14 Confidential                            financial products or services. Rather,                  described in section 1026(a) of the
                                             Treatment of Demand Material and                        the Final Rule provides a clear, efficient               Dodd-Frank Act. Nor does the Final
                                             Non-Public Nature of Investigations                     mechanism for investigating compliance                   Rule have a unique impact on rural
                                               Section 1080.14 of the Interim Final                  with the Federal consumer financial                      consumers.
                                             Rule explains that documentary                          laws, which benefits consumers by                          A commenter suggested that the
                                             materials, written reports, answers to                  creating a systematic process to protect                 Bureau conduct a nonpublic study of
                                             questions, tangible things, or transcripts              them from unlawful behavior.                             the impact of complying with a CID on
                                             of oral testimony received by the Bureau                                                                         the entities who have been subjected to
                                                                                                       1 Section 1022(b)(2)(A) of the Dodd-Frank Act
                                             in any form or format pursuant to a CID                 addresses the consideration of the potential benefits
                                                                                                                                                              them by other agencies, with specific
                                             are subject to the requirements and                     and costs of regulation to consumers and covered         focus on those that were found not to
                                             procedures relating to disclosure of                    persons, including the potential reduction of access     have violated the law. As the
                                             records and information in part 1070 of                 by consumers to consumer financial products or           commenter implicitly recognizes, such
                                                                                                     services; the impact on depository institutions and
                                             this title. This section of the Interim                 credit unions with $10 billion or less in total assets   data does not currently exist and thus
                                             Final Rule also states that investigations              as described in section 1026 of the Dodd-Frank Act;      was not reasonably available to the
                                             generally are non-public. A Bureau                      and the impact on consumers in rural areas. Section      Bureau in finalizing the Interim Final
                                                                                                     1022(b)(2)(B) addresses consultation between the
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                                             investigator may disclose the existence                                                                          Rule. Moreover, as explained above,
                                                                                                     Bureau and other Federal agencies during the
                                             of an investigation to the extent                       rulemaking process. The manner and extent to             most of the costs associated with
                                             necessary to advance the investigation.                 which these provisions apply to procedural rules         complying with a CID result from the
                                               A commenter recommended that the                      and benefits, costs and impacts that are compelled       Dodd-Frank Act, which authorizes the
                                             Bureau revise this section to mandate                   by statutory changes rather than discretionary
                                                                                                     Bureau action is unclear. Nevertheless, to inform
                                                                                                                                                              Bureau to issue such demands.
                                             that Bureau investigations remain                       this rulemaking more fully, the Bureau performed           A commenter asserted that
                                             confidential. The commenter noted the                   the described analyses and consultations.                disfavoring extensions of petitions to


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                                             modify or set aside CIDs will require the               information requiring approval under 44                perform the functions of the Director in
                                             recipient to conduct a full review of the               U.S.C. 3501. et seq.                                   accordance with the law.
                                             demanded material within the normal                                                                               Documentary material means the
                                                                                                     List of Subjects in 12 CFR Part 1080
                                             20-day period in order to comply with                                                                          original or any copy of any book,
                                             the deadline for filing a petition. Under                 Administrative practice and                          document, record, report,
                                             the Final Rule, recipients of a CID are                 procedure, Banking, Banks, Consumer                    memorandum, paper, communication,
                                             not required to comply fully within                     protection, Credit, Credit unions,                     tabulation, chart, log, electronic file, or
                                             twenty days; rather, they are required                  Investigations, Law enforcement,                       other data or data compilation stored in
                                             simply to decide whether they will                      National banks, Savings associations,                  any medium, including electronically
                                             comply with the demand at all. The                      Trade practices.                                       stored information.
                                             Assistant Director of the Office of                       For the reasons set forth in the                        Dodd-Frank Act means the Dodd-
                                             Enforcement and the Deputy Assistant                    preamble, the Bureau of Consumer                       Frank Wall Street Reform and Consumer
                                             Directors of the Office of Enforcement                  Financial Protection revises part 1080 to              Financial Protection Act of 2010, as
                                             have the discretion to negotiate and                    Chapter X in Title 12 of the Code of                   amended, Public Law 111–203 (July 21,
                                             approve the terms of satisfactory                       Federal Regulations to read as follows:                2010), Title X, codified at 12 U.S.C.
                                             compliance with CIDs and, for good                                                                             5481 et seq.
                                             cause shown, may extend the time                        PART 1080—RULES RELATING TO                               Electronically stored information (ESI)
                                             prescribed for compliance. Thus, the                    INVESTIGATIONS                                         means any information stored in any
                                             Final Rule provides reasonable steps to                 Sec.                                                   electronic medium from which
                                             mitigate compliance burden while                        1080.1 Scope.                                          information can be obtained either
                                             simultaneously protecting the Bureau’s                  1080.2 Definitions.                                    directly or, if necessary, after translation
                                             law enforcement interests.                              1080.3 Policy as to private controversies.             by the responding party into a
                                                Another commenter stated that the                    1080.4 Initiating and conducting                       reasonably usable form.
                                                                                                          investigations.                                      Office of Enforcement means the
                                             four interim final rules that the Bureau                1080.5 Notification of purpose.
                                             promulgated together on July 28, 2011                                                                          office of the Bureau responsible for
                                                                                                     1080.6 Civil investigative demands.
                                             failed to satisfy the rulemaking                        1080.7 Investigational hearings.                       enforcement of Federal consumer
                                             requirements under section 1022 of the                  1080.8 Withholding requested material.                 financial law.
                                             Dodd-Frank Act. Specifically, the                       1080.9 Rights of witnesses in investigations.             Person means an individual,
                                             commenter stated that ‘‘the CFPB’s                      1080.10 Noncompliance with civil                       partnership, company, corporation,
                                             analysis of the costs and benefits of its                    investigative demands.                            association (incorporated or
                                             rules does not recognize the significant                1080.11 Disposition.                                   unincorporated), trust, estate,
                                                                                                     1080.12 Orders requiring witnesses to                  cooperative organization, or other
                                             costs the CFPB imposes on covered                            testify or provide other information and
                                             persons.’’ The Bureau believes that it                                                                         entity.
                                                                                                          granting immunity.
                                             appropriately considered the benefits,                  1080.13 Custodians.
                                                                                                                                                               Violation means any act or omission
                                             costs, and impacts of the Interim Final                 1080.14 Confidential treatment of demand               that, if proved, would constitute a
                                             Rule pursuant to section 1022. Notably,                      material and non-public nature of                 violation of any provision of Federal
                                             the commenter did not identify any                           investigations.                                   consumer financial law.
                                             specific costs to covered persons that                    Authority: Pub. L. 111–203, Title X, 12              § 1080.3   Policy as to private controversies.
                                             are not discussed in Part C of the                      U.S.C. 5481 et seq.
                                             SUPPLEMENTARY INFORMATION to the
                                                                                                                                                              The Bureau shall act only in the
                                             Interim Final Rule.                                     § 1080.1    Scope.                                     public interest and will not initiate an
                                                                                                       The rules of this part apply to Bureau               investigation or take other enforcement
                                             VIII. Procedural Requirements                           investigations conducted pursuant to                   action when the alleged violation is
                                                                                                     section 1052 of the Dodd-Frank Act, 12                 merely a matter of private controversy
                                               As noted in publishing the Interim
                                                                                                     U.S.C. 5562.                                           and does not tend to affect adversely the
                                             Final Rule, under the Administrative
                                                                                                                                                            public interest.
                                             Procedure Act, 5 U.S.C. 553(b), notice                  § 1080.2    Definitions.
                                             and comment is not required for rules                      For the purposes of this part, unless               § 1080.4 Initiating and conducting
                                             of agency organization, procedure, or                   explicitly stated to the contrary:                     investigations.
                                             practice. As discussed in the preamble                     Bureau means the Bureau of                            The Assistant Director of the Office of
                                             to the Interim Final Rule, the Bureau                   Consumer Financial Protection.                         Enforcement and the Deputy Assistant
                                             confirms its finding that this is a                        Bureau investigation means any                      Directors of the Office of Enforcement
                                             procedural rule for which notice and                    inquiry conducted by a Bureau                          have the nondelegable authority to
                                             comment is not required. In addition,                   investigator for the purpose of                        initiate investigations. Bureau
                                             because the Final Rule relates solely to                ascertaining whether any person is or                  investigations are conducted by Bureau
                                             agency procedure and practice, it is not                has been engaged in any conduct that is                investigators designated and duly
                                             subject to the 30-day delayed effective                 a violation.                                           authorized under section 1052 of the
                                             date for substantive rules under section                   Bureau investigator means any                       Dodd-Frank Act, 12 U.S.C. 5562, to
                                             553(d) of the Administrative Procedure                  attorney or investigator employed by the               conduct such investigations. Bureau
                                             Act, 5 U.S.C. 551 et seq. Because no                    Bureau who is charged with the duty of                 investigators are authorized to exercise
                                             notice of proposed rulemaking is                        enforcing or carrying into effect any                  and perform their duties in accordance
                                             required, the requirements of the                       Federal consumer financial law.                        with the laws of the United States and
                                             Regulatory Flexibility Act, 5 U.S.C.
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                                                                                                        Custodian means the custodian or any                the regulations of the Bureau.
                                             601(2) do not apply. Finally, the Bureau                deputy custodian designated by the
                                             has determined that this Final Rule does                Bureau for the purpose of maintaining                  § 1080.5   Notification of purpose.
                                             not impose any new recordkeeping,                       custody of information produced                          Any person compelled to furnish
                                             reporting, or disclosure requirements on                pursuant to this part.                                 documentary material, tangible things,
                                             covered entities or members of the                         Director means the Director of the                  written reports or answers to questions,
                                             public that would be collections of                     Bureau or a person authorized to                       oral testimony, or any combination of


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                                             such material, answers, or testimony to                 dates which will provide a reasonable                  agents, or designate other persons who
                                             the Bureau shall be advised of the                      period of time within which the things                 consent to testify on its behalf. Unless
                                             nature of the conduct constituting the                  so demanded may be assembled and                       a single individual is designated by the
                                             alleged violation that is under                         submitted, and identify the custodian to               entity, the entity must designate the
                                             investigation and the provisions of law                 whom such things shall be submitted.                   matters on which each designee will
                                             applicable to such violation.                             (ii) Submissions of tangible things in               testify. The individuals designated must
                                                                                                     response to a civil investigative demand               testify about information known or
                                             § 1080.6   Civil investigative demands.                 shall be made under a sworn certificate,               reasonably available to the entity and
                                               (a) In general. In accordance with                    in such form as the demand designates,                 their testimony shall be binding on the
                                             section 1052(c) of the Act, the Director                by the person to whom the demand is                    entity.
                                             of the Bureau, the Assistant Director of                directed or, if not a natural person, by                  (b) Manner and form of production of
                                             the Office of Enforcement, and the                      any person having knowledge of the                     ESI. When a civil investigative demand
                                             Deputy Assistant Directors of the Office                facts and circumstances relating to such               requires the production of ESI, it shall
                                             of Enforcement, have the nondelegable                   production, to the effect that all of the              be produced in accordance with the
                                             authority to issue a civil investigative                tangible things required by the demand                 instructions provided by the Bureau
                                             demand in any Bureau investigation                      and in the possession, custody, or                     regarding the manner and form of
                                             directing the person named therein to                   control of the person to whom the                      production. Absent any instructions as
                                             produce documentary material for                        demand is directed have been submitted                 to the form for producing ESI, ESI must
                                             inspection and copying or reproduction                  to the custodian.                                      be produced in the form in which it is
                                             in the form or medium requested by the                    (3) Written reports or answers to                    ordinarily maintained or in a reasonably
                                             Bureau; to submit tangible things; to                   questions. (i) Civil investigative                     usable form.
                                             provide a written report or answers to                  demands for written reports or answers                    (c) Meet and confer. The recipient of
                                             questions; to appear before a designated                to questions shall propound with                       a civil investigative demand shall meet
                                             representative at a designated time and                 definiteness and certainty the reports to              and confer with a Bureau investigator
                                             place to testify about documentary                      be produced or the questions to be                     within 10 calendar days after receipt of
                                             material, tangible things, or other                     answered, prescribe a date or dates at                 the demand or before the deadline for
                                             information; and to furnish any                         which time written reports or answers                  filing a petition to modify or set aside
                                             combination of such material, things,                   to questions shall be submitted, and                   the demand, whichever is earlier, to
                                             answers, or testimony.                                  identify the custodian to whom such                    discuss and attempt to resolve all issues
                                               (1) Documentary material. (i) Civil                   reports or answers shall be submitted.                 regarding compliance with the civil
                                             investigative demands for the                             (ii) Each reporting requirement or                   investigative demand. The Assistant
                                             production of documentary material                      question in a civil investigative demand               Director of the Office of Enforcement
                                             shall describe each class of material to                shall be answered separately and fully                 and the Deputy Assistant Directors of
                                             be produced with such definiteness and                  in writing under oath. Responses to a                  the Office of Enforcement may authorize
                                             certainty as to permit such material to                 civil investigative demand for a written               the waiver of this requirement for
                                             be fairly identified, prescribe a return                report or answers to questions shall be                routine third-party civil investigative
                                             date or dates that will provide a                       made under a sworn certificate, in such                demands or in other circumstances
                                             reasonable period of time within which                  form as the demand designates, by the                  where he or she determines that a
                                             the material so demanded may be                         person to whom the demand is directed                  meeting is unnecessary. The meeting
                                             assembled and made available for                        or, if not a natural person, by any person             may be in person or by telephone.
                                             inspection and copying or reproduction,                 responsible for answering each                            (1) Personnel. The recipient must
                                             and identify the custodian to whom                      reporting requirement or question, to                  make available at the meeting personnel
                                             such material shall be made available.                  the effect that all of the information                 with the knowledge necessary to resolve
                                             Documentary material for which a civil                  required by the demand and in the                      any issues relevant to compliance with
                                             investigative demand has been issued                    possession, custody, control, or                       the demand. Such personnel could
                                             shall be made available as prescribed in                knowledge of the person to whom the                    include individuals knowledgeable
                                             the civil investigative demand.                         demand is directed has been submitted                  about the recipient’s information or
                                               (ii) Production of documentary                        to the custodian.                                      records management systems and/or the
                                             material in response to a civil                           (4) Oral testimony. (i) Civil                        recipient’s organizational structure.
                                             investigative demand shall be made                      investigative demands for the giving of                   (2) ESI. If the civil investigative
                                             under a sworn certificate, in such form                 oral testimony shall prescribe a date,                 demand seeks ESI, the recipient shall
                                             as the demand designates, by the person                 time, and place at which oral testimony                ensure that a person familiar with its
                                             to whom the demand is directed or, if                   shall be commenced, and identify a                     ESI systems and methods of retrieval
                                             not a natural person, by any person                     Bureau investigator who shall conduct                  participates in the meeting.
                                             having knowledge of the facts and                       the investigation and the custodian to                    (3) Petitions. The Bureau will not
                                             circumstances relating to such                          whom the transcript of such                            consider petitions to set aside or modify
                                             production, to the effect that all of the               investigation shall be submitted. Oral                 a civil investigative demand unless the
                                             documentary material required by the                    testimony in response to a civil                       recipient has meaningfully engaged in
                                             demand and in the possession, custody,                  investigative demand shall be taken in                 the meet and confer process described
                                             or control of the person to whom the                    accordance with the procedures for                     in this subsection and will consider
                                             demand is directed has been produced                    investigational hearings prescribed by                 only issues raised during the meet and
                                             and made available to the custodian.                    §§ 1080.7 and 1080.9 of this part.                     confer process.
                                               (2) Tangible things. (i) Civil                          (ii) Where a civil investigative                        (d) Compliance. The Assistant
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                                             investigative demands for tangible                      demand requires oral testimony from an                 Director of the Office of Enforcement
                                             things shall describe each class of                     entity, the civil investigative demand                 and the Deputy Assistant Directors of
                                             tangible things to be produced with                     shall describe with reasonable                         the Office of Enforcement are authorized
                                             such definiteness and certainty as to                   particularity the matters for examination              to negotiate and approve the terms of
                                             permit such things to be fairly                         and the entity must designate one or                   satisfactory compliance with civil
                                             identified, prescribe a return date or                  more officers, directors, or managing                  investigative demands and, for good


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                                             cause shown, may extend the time                          (g) Public disclosure. All such                      production of material shall assert a
                                             prescribed for compliance.                              petitions and the Director’s orders in                 claim of privilege not later than the date
                                               (e) Petition for order modifying or                   response to those petitions are part of                set for the production of material. Such
                                             setting aside demand—in general. Any                    the public records of the Bureau unless                person shall, if so directed in the civil
                                             petition for an order modifying or                      the Bureau determines otherwise for                    investigative demand or other request
                                             setting aside a civil investigative                     good cause shown. Any showing of                       for production, submit, together with
                                             demand shall be filed with the                          good cause must be made no later than                  such claim, a schedule of the items
                                             Executive Secretary of the Bureau with                  the time the petition is filed.                        withheld which states, as to each such
                                             a copy to the Assistant Director of the                                                                        item, the type, specific subject matter,
                                             Office of Enforcement within 20                         § 1080.7    Investigational hearings.
                                                                                                                                                            and date of the item; the names,
                                             calendar days after service of the civil                   (a) Investigational hearings, as                    addresses, positions, and organizations
                                             investigative demand, or, if the return                 distinguished from hearings in                         of all authors and recipients of the item;
                                             date is less than 20 calendar days after                adjudicative proceedings, may be                       and the specific grounds for claiming
                                             service, prior to the return date. Such                 conducted pursuant to a civil                          that the item is privileged. The person
                                             petition shall set forth all factual and                investigative demand for the giving of                 who submits the schedule and the
                                             legal objections to the civil investigative             oral testimony in the course of any                    attorney stating the grounds for a claim
                                             demand, including all appropriate                       Bureau investigation, including                        that any item is privileged must sign it.
                                             arguments, affidavits, and other                        inquiries initiated for the purpose of                    (b) A person withholding material
                                             supporting documentation. The attorney                  determining whether or not a                           solely for reasons described in this
                                             who objects to a demand must sign any                   respondent is complying with an order                  subsection shall comply with the
                                             objections.                                             of the Bureau.                                         requirements of this subsection in lieu
                                               (1) Statement. Each petition shall be                    (b) Investigational hearings shall be               of filing a petition for an order
                                             accompanied by a signed statement                       conducted by any Bureau investigator                   modifying or setting aside a civil
                                             representing that counsel for the                       for the purpose of hearing the testimony               investigative demand pursuant to
                                             petitioner has conferred with counsel                   of witnesses and receiving documentary                 section 1080.6(e).
                                             for the Bureau pursuant to section                      material, tangible things, or other                       (c) Disclosure of privileged or
                                             1080.6(c) in a good-faith effort to resolve             information relating to any subject                    protected information or
                                             by agreement the issues raised by the                   under investigation. Such hearings shall               communications produced pursuant to a
                                             petition and has been unable to reach                   be under oath or affirmation and                       civil investigative demand shall be
                                             such an agreement. If some of the                       stenographically reported, and a                       handled as follows:
                                             matters in controversy have been                        transcript thereof shall be made a part                   (1) The disclosure of privileged or
                                             resolved by agreement, the statement                    of the record of the investigation. The                protected information or
                                             shall specify the matters so resolved and               Bureau investigator conducting the                     communications shall not operate as a
                                             the matters remaining unresolved. The                   investigational hearing also may direct                waiver with respect to the Bureau if:
                                             statement shall recite the date, time, and              that the testimony be recorded by audio,                  (i) The disclosure was inadvertent;
                                             place of each such meeting between                      audiovisual, or other means, in which                     (ii) The holder of the privilege or
                                             counsel, and the names of all parties                   case the recording shall be made a part                protection took reasonable steps to
                                             participating in each such meeting.                     of the record of the investigation as                  prevent disclosure; and
                                               (2) Extensions of time. The Assistant                 well.                                                     (iii) The holder promptly took
                                             Director of the Office of Enforcement                      (c) In investigational hearings, the                reasonable steps to rectify the error,
                                             and the Deputy Assistant Directors of                   Bureau investigators shall exclude from                including notifying a Bureau
                                             the Office of Enforcement are authorized                the hearing room all persons except the                investigator of the claim of privilege or
                                             to rule upon requests for extensions of                 person being examined, his or her                      protection and the basis for it.
                                             time within which to file such petitions.               counsel, the officer before whom the                      (2) After being notified, the Bureau
                                             Requests for extensions of time are                     testimony is to be taken, any                          investigator must promptly return,
                                             disfavored.                                             investigator or representative of an                   sequester, or destroy the specified
                                               (3) Bureau investigator response.                     agency with which the Bureau is                        information and any copies; must not
                                             Bureau investigators may, without                       engaged in a joint investigation, and any              use or disclose the information until the
                                             serving the petitioner, provide the                     individual transcribing or recording                   claim is resolved; must take reasonable
                                             Director with a statement setting forth                 such testimony. At the discretion of the               steps to retrieve the information if he or
                                             any factual and legal response to a                     Bureau investigator, and with the                      she disclosed it before being notified;
                                             petition for an order modifying or                      consent of the person being examined,                  and, if appropriate, may sequester such
                                             setting aside the demand.                               persons other than those listed in this                material until such time as a hearing
                                               (4) Disposition. The Director has the                 paragraph may be present in the hearing                officer or court rules on the merits of the
                                             authority to rule upon a petition for an                room. The Bureau investigator shall                    claim of privilege or protection. The
                                             order modifying or setting aside a civil                certify or direct the individual                       producing party must preserve the
                                             investigative demand. The order may be                  transcribing the testimony to certify on               information until the claim is resolved.
                                             served on the petitioner via email,                     the transcript that the witness was duly                  (3) The disclosure of privileged or
                                             facsimile, or any other method                          sworn and that the transcript is a true                protected information or
                                             reasonably calculated to provide notice                 record of the testimony given by the                   communications shall waive the
                                             of the order to the petitioner.                         witness. A copy of the transcript shall                privilege or protection with respect to
                                               (f) Stay of compliance period. The                    be forwarded promptly by the Bureau                    the Bureau as to undisclosed
                                             timely filing of a petition for an order
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                                                                                                     investigator to the custodian designated               information or communications only if:
                                             modifying or setting aside a civil                      in section 1080.13.                                       (i) The waiver is intentional;
                                             investigative demand shall stay the time                                                                          (ii) The disclosed and undisclosed
                                             permitted for compliance with the                       § 1080.8    Withholding requested material.            information or communications concern
                                             portion challenged. If the petition is                    (a) Any person withholding material                  the same subject matter; and
                                             denied in whole or in part, the ruling                  responsive to a civil investigative                       (iii) They ought in fairness to be
                                             will specify a new return date.                         demand or any other request for                        considered together.


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                                             § 1080.9 Rights of witnesses in                         and the testimony shall be taken, except               and the General Counsel of the Bureau
                                             investigations.                                         for testimony requiring the witness to                 are authorized to:
                                                (a) Any person compelled to submit                   divulge information protected by the                     (1) Institute, on behalf of the Bureau,
                                             documentary material, tangible things,                  claim of privilege or work product.                    an enforcement proceeding in the
                                             or written reports or answers to                           (3) Counsel for a witness may not, for              district court of the United States for
                                             questions to the Bureau, or to testify in               any purpose or to any extent not                       any judicial district in which a person
                                             an investigational hearing, shall be                    allowed by paragraphs (b)(1) and (2) of                resides, is found, or transacts business,
                                             entitled to retain a copy or, on payment                this section, interrupt the examination                in connection with the failure or refusal
                                             of lawfully prescribed costs, request a                 of the witness by making any objections                of such person to comply with, or to
                                             copy of the materials, things, reports, or              or statements on the record. Petitions                 obey, a civil investigative demand in
                                             written answers submitted, or a                         challenging the Bureau’s authority to                  whole or in part if the return date or any
                                             transcript of his or her testimony. The                 conduct the investigation or the                       extension thereof has passed; and
                                             Bureau, however, may for good cause                     sufficiency or legality of the civil                     (2) Seek civil contempt or other
                                             deny such a request and limit the                       investigative demand shall be addressed                appropriate relief in cases where a court
                                             witness to inspection of the official                   to the Bureau in advance of the hearing                order enforcing a civil investigative
                                             transcript of the testimony. Upon                       in accordance with § 1080.6(e). Copies                 demand has been violated.
                                             completion of transcription of the                      of such petitions may be filed as part of
                                             testimony of the witness, the witness                                                                          § 1080.11   Disposition.
                                                                                                     the record of the investigation with the
                                             shall be offered an opportunity to read                 Bureau investigator conducting the                       (a) When the facts disclosed by an
                                             the transcript of his or her testimony.                 investigational hearing, but no                        investigation indicate that an
                                             Any changes by the witness shall be                     arguments in support thereof will be                   enforcement action is warranted, further
                                             entered and identified upon the                         allowed at the hearing.                                proceedings may be instituted in
                                             transcript by the Bureau investigator                                                                          Federal or State court or pursuant to the
                                                                                                        (4) Following completion of the
                                             with a statement of the reasons given by                                                                       Bureau’s administrative adjudicatory
                                                                                                     examination of a witness, counsel for
                                             the witness for making such changes.                                                                           process. Where appropriate, the Bureau
                                                                                                     the witness may, on the record, request
                                             The transcript shall then be signed by                                                                         also may refer investigations to
                                                                                                     that the Bureau investigator conducting
                                             the witness and submitted to the Bureau                                                                        appropriate Federal, State, or foreign
                                                                                                     the investigational hearing permit the
                                             unless the witness cannot be found, is                                                                         governmental agencies.
                                                                                                     witness to clarify any of his or her
                                             ill, waives in writing his or her right to                                                                       (b) When the facts disclosed by an
                                             signature, or refuses to sign. If the                   answers. The grant or denial of such
                                                                                                     request shall be within the sole                       investigation indicate that an
                                             signed transcript is not submitted to the                                                                      enforcement action is not necessary or
                                             Bureau within 30 calendar days of the                   discretion of the Bureau investigator
                                                                                                     conducting the hearing.                                would not be in the public interest, the
                                             witness being afforded a reasonable                                                                            investigational file will be closed. The
                                             opportunity to review it, the Bureau                       (5) The Bureau investigator
                                                                                                                                                            matter may be further investigated, at
                                             investigator, or the individual                         conducting the hearing shall take all
                                                                                                                                                            any time, if circumstances so warrant.
                                             transcribing the testimony acting at the                necessary action to regulate the course
                                                                                                                                                              (c) The Assistant Director of the Office
                                             Bureau investigator’s direction, shall                  of the hearing to avoid delay and to
                                                                                                                                                            of Enforcement and the Deputy
                                             sign the transcript and state on the                    prevent or restrain disorderly, dilatory,
                                                                                                                                                            Assistant Directors of the Office of
                                             record the fact of the waiver, illness,                 obstructionist, or contumacious
                                                                                                                                                            Enforcement are authorized to close
                                             absence of the witness, or the refusal to               conduct, or contemptuous language.
                                                                                                                                                            Bureau investigations.
                                             sign, together with any reasons given for               Such Bureau investigator shall, for
                                             the failure to sign.                                    reasons stated on the record,                          § 1080.12 Orders requiring witnesses to
                                                (b) Any witness compelled to appear                  immediately report to the Bureau any                   testify or provide other information and
                                             in person at an investigational hearing                 instances where an attorney has                        granting immunity.
                                             may be accompanied, represented, and                    allegedly refused to comply with his or                  The Director has the nondelegable
                                             advised by counsel as follows:                          her obligations under the rules in this                authority to request approval from the
                                                (1) Counsel for a witness may advise                 part, or has allegedly engaged in                      Attorney General of the United States
                                             the witness, in confidence and upon the                 disorderly, dilatory, obstructionist, or               for the issuance of an order requiring a
                                             initiative of either counsel or the                     contumacious conduct, or                               witness to testify or provide other
                                             witness, with respect to any question                   contemptuous language in the course of                 information and granting immunity
                                             asked of the witness where it is claimed                the hearing. The Bureau will thereupon                 under 18 U.S.C. 6004.
                                             that a witness is privileged to refuse to               take such further action, if any, as the
                                             answer the question. Counsel may not                    circumstances warrant, including                       § 1080.13   Custodians.
                                             otherwise consult with the witness                      actions consistent with those described                  (a) The Bureau shall designate a
                                             while a question directed to the witness                in 12 CFR 1081.107(c) to suspend or                    custodian and one or more deputy
                                             is pending.                                             disbar the attorney from further practice              custodians for material to be delivered
                                                (2) Any objections made under the                    before the Bureau or exclude the                       pursuant to a civil investigative demand
                                             rules in this part shall be made only for               attorney from further participation in                 in an investigation. The custodian shall
                                             the purpose of protecting a                             the particular investigation.                          have the powers and duties prescribed
                                             constitutional or other legal right or                                                                         by 12 CFR 1070.3 and section 1052 of
                                             privilege, including the privilege against              § 1080.10 Noncompliance with civil                     the Act, 12 U.S.C. 5562. Deputy
                                             self-incrimination. Neither the witness                 investigative demands.                                 custodians may perform all of the duties
                                             nor counsel shall otherwise object or                     (a) In cases of failure to comply in                 assigned to custodians.
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                                             refuse to answer any question. Any                      whole or in part with Bureau civil                       (b) Material produced pursuant to a
                                             objection during an investigational                     investigative demands, appropriate                     civil investigative demand, while in the
                                             hearing shall be stated concisely on the                action may be initiated by the Bureau,                 custody of the custodian, shall be for the
                                             record in a nonargumentative and                        including actions for enforcement.                     official use of the Bureau in accordance
                                             nonsuggestive manner. Following an                        (b) The Director, the Assistant                      with the Act; but such material shall
                                             objection, the examination shall proceed                Director of the Office of Enforcement,                 upon reasonable notice to the custodian


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                                             be made available for examination by                    I. Background                                          and requires substantive notice that is
                                             the person who produced such material,                    The Dodd-Frank Wall Street Reform                    both straightforward and
                                             or his or her duly authorized                           and Consumer Financial Protection Act                  comprehensive. The Final Rule further
                                             representative, during regular office                   of 2010 (Dodd-Frank Act) was signed                    makes clear that the Bureau can
                                             hours established for the Bureau.                       into law on July 21, 2010. Title X of the              intervene as a party in an action brought
                                                                                                     Dodd-Frank Act established the Bureau                  by a State Official under Title X of the
                                             § 1080.14 Confidential treatment of                                                                            Dodd-Frank Act or a regulation
                                             demand material and non-public nature of                to regulate the offering and provision of
                                                                                                     consumer financial products or services                prescribed thereunder, provides for the
                                             investigations.
                                                                                                     under the Federal consumer financial                   confidential treatment of non-public
                                               (a) Documentary materials, written                                                                           information contained in the notice if a
                                             reports, answers to questions, tangible                 laws. Section 1042 of the Dodd-Frank
                                                                                                                                                            State so requests, and provides that
                                             things or transcripts of oral testimony                 Act, 12 U.S.C. 5552, governs the
                                                                                                                                                            provision of notice shall not be deemed
                                             the Bureau receives in any form or                      enforcement powers of the States under
                                                                                                                                                            a waiver of any applicable privilege. In
                                             format pursuant to a civil investigative                the Dodd-Frank Act. Under section
                                                                                                                                                            addition, the Final Rule specifies that
                                             demand are subject to the requirements                  1042(a), a State attorney general or
                                                                                                                                                            the notice provisions do not create any
                                             and procedures relating to the                          regulator (State Official) may bring an
                                                                                                                                                            procedural or substantive rights for
                                             disclosure of records and information                   action to enforce Title X of the Dodd-
                                                                                                                                                            parties in litigation against the United
                                             set forth in part 1070 of this title.                   Frank Act and regulations issued
                                                                                                                                                            States or against a State that brings an
                                               (b) Bureau investigations generally are               thereunder. Prior to initiating any such
                                                                                                                                                            action under Title X of the Dodd-Frank
                                             non-public. Bureau investigators may                    action, the State Official is required to              Act or a regulation prescribed
                                             disclose the existence of an                            provide notice of the action to the                    thereunder.
                                             investigation to potential witnesses or                 Bureau and the prudential regulator, if
                                             third parties to the extent necessary to                any, pursuant to section 1042(b) of the                III. Legal Authority
                                             advance the investigation.                              Dodd-Frank Act. Section 1042(b) further                   Section 1042(c) of the Dodd-Frank Act
                                               Dated: June 4, 2012.                                  authorizes the Bureau to intervene in                  authorizes the Bureau to prescribe
                                                                                                     the State Official’s action as a party,                regulations implementing the
                                             Richard Cordray,
                                                                                                     remove the action to a Federal district                requirements of section 1042(b). In
                                             Director, Bureau of Consumer Financial
                                                                                                     court, and appeal any order or                         addition, the Bureau has general
                                             Protection.
                                                                                                     judgment.                                              rulemaking authority pursuant to
                                             [FR Doc. 2012–14047 Filed 6–28–12; 8:45 am]
                                                                                                       Pursuant to section 1042(c) of the                   section 1022(b)(1) of the Dodd-Frank
                                             BILLING CODE 4810–AM–P                                  Dodd-Frank Act, the Bureau is required                 Act to prescribe rules to enable the
                                                                                                     to issue regulations implementing the                  Bureau to administer and carry out the
                                                                                                     requirements of section 1042. On July                  purposes and objectives of the Federal
                                             BUREAU OF CONSUMER FINANCIAL
                                                                                                     28, 2011, the Bureau promulgated the                   consumer financial laws and to prevent
                                             PROTECTION
                                                                                                     State Official Notification Rule (Interim              evasions thereof.
                                             12 CFR Part 1082                                        Final Rule) with a request for comment.
                                                                                                     The comment period for the Interim                     IV. Overview of Comments Received
                                             [Docket No. CFPB–2011–0005]                             Final Rule ended on September 26,                         In response to the Interim Final Rule,
                                             RIN 3170–AA02                                           2011. After reviewing and considering                  the Bureau received several comments.
                                                                                                     the issues raised by the comments, the                 Four letters were received from
                                             State Official Notification Rule                        Bureau now promulgates the Final Rule                  associations representing the financial
                                                                                                     establishing a procedure for the timing                industry, two letters were received from
                                             AGENCY:  Bureau of Consumer Financial                                                                          financial industry regulators and
                                                                                                     and content of the notice required to be
                                             Protection.                                                                                                    supervisors, and one letter was received
                                                                                                     provided by State Officials pursuant to
                                             ACTION: Final rule.                                     section 1042(b) of the Dodd-Frank Act,                 from an individual consumer. The
                                             SUMMARY:    The Dodd-Frank Wall Street                  12 U.S.C. 5552(b).                                     Bureau also received a comment letter
                                             Reform and Consumer Financial                                                                                  from a financial industry regulator in
                                                                                                     II. Summary of the Final Rule                          response to its Federal Register
                                             Protection Act of 2010 (Dodd-Frank Act)
                                             requires the Bureau of Consumer                           Like the Interim Final Rule, the Final               notification of November 21, 2011,
                                             Financial Protection (Bureau) to                        Rule implements a procedure for the                    regarding the information collection
                                             prescribe rules establishing procedures                 timing and content of the notice                       requirements associated with the
                                             that govern the process by which State                  required by section 1042(b), sets forth                Interim Final Rule pursuant to the
                                             Officials notify the Bureau of actions                  the responsibilities of the recipients of              Paperwork Reduction Act of 1995
                                             undertaken pursuant to the authority                    the notice, and specifies the rights of the            (PRA), Public Law 104–13. All of the
                                             granted to the States to enforce the                    Bureau to participate in actions brought               comments are available for review on
                                             Dodd-Frank Act or regulations                           by State Officials under section 1042(a)               www.regulations.gov.
                                             prescribed thereunder. This final State                 of the Dodd-Frank Act. In drafting the                    The financial industry associations’
                                             Official Notification Rule (Final Rule)                 Final Rule, the Bureau endeavored to                   comments fell into several general
                                             sets forth the procedures to govern this                create a process that would provide both               categories. Several comments expressed
                                             process.                                                the Bureau and, where applicable, the                  concerns about the Bureau’s ability to
                                                                                                     prudential regulators with timely notice               maintain confidentiality for notification
                                             DATES: The Final Rule is effective June
                                                                                                     of pending actions and account for the                 materials received by the Bureau. Other
                                             29, 2012.                                               investigation and litigation needs of                  commenters requested clarity as to the
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                                             FOR FURTHER INFORMATION CONTACT:                        State regulators and law enforcement                   type of actions for which the Bureau
                                             Veronica Spicer, Office of Enforcement,                 agencies. In keeping with this approach,               requires notification. One commenter
                                             Consumer Financial Protection Bureau,                   the Final Rule provides for a default                  requested that the Bureau require
                                             1700 G Street NW., Washington, DC                       notice period of at least ten calendar                 uniform interpretation by States of all
                                             20552, at (202) 435–7545.                               days, with exceptions for emergencies                  Federal law within the Bureau’s
                                             SUPPLEMENTARY INFORMATION:                              and other extenuating circumstances,                   jurisdiction.


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